               Case: 06-10899-MWV Doc #: 1 Filed: 07/31/06 Desc: Main Document                                                                         Page 1 of 45
(Official Form 1) (10/05)
                                         United States Bankruptcy Court
                                                  District of New Hampshire                                                                          Voluntary Petition
        }
        b
        k
        1
        {
        F
        o
        r
        m
        .
        V
        l
        u
        n
        t
        a
        y
        P
        e
        i




 Name of Debtor (if individual, enter Last, First, Middle):                                       Name of Joint Debtor (Spouse) (Last, First, Middle):
  Avard, Kevin A                                                                                    Avard, Naomi K


All Other Names used by the Debtor in the last 8 years                                            All Other Names used by the Joint Debtor in the last 8 years
(include married, maiden, and trade names):                                                       (include married, maiden, and trade names):
  DBA Aardvark Dean of Clean                                                                         AKA Naomi K Croteau



Last four digits of Soc. Sec./Complete EIN or other Tax ID No. (if more than one, state all): Last four digits of Soc. Sec./Complete EIN or other Tax ID No. (if more than one, state all):
  xxx-xx-0870                                                                                       xxx-xx-0290
Street Address of Debtor (No. & Street, City, and State):                                         Street Address of Joint Debtor (No. & Street, City, and State):
  100 Beech Street                                                                                   100 Beech Street
  Franklin, NH                                                                                       Franklin, NH
                                                                                  ZIP Code                                                                                  ZIP Code
                                                                              03235                                                                                      03235
County of Residence or of the Principal Place of Business:                                        County of Residence or of the Principal Place of Business:
  Merrimack                                                                                         Merrimack
Mailing Address of Debtor (if different from street address):                                     Mailing Address of Joint Debtor (if different from street address):


                                                                                  ZIP Code                                                                                  ZIP Code

Location of Principal Assets of Business Debtor
(if different from street address above):


Type of Debtor (Form of Organization)                        Nature of Business                                         Chapter of Bankruptcy Code Under Which
               (Check one box)                            (Check all applicable boxes.)                                    the Petition is Filed (Check one box)
    Individual (includes Joint Debtors)               Health Care Business
                                                                                                      Chapter 7             Chapter 11            Chapter 15 Petition for Recognition
    Corporation (includes LLC and LLP)                Single Asset Real Estate as defined                                                         of a Foreign Main Proceeding
                                                      in 11 U.S.C. § 101 (51B)
    Partnership                                                                                       Chapter 9             Chapter 12            Chapter 15 Petition for Recognition
                                                      Railroad                                                                                    of a Foreign Nonmain Proceeding
    Other (If debtor is not one of the above
    entities, check this box and provide the          Stockbroker                                                   Chapter 13
    information requested below.)                     Commodity Broker
    State type of entity:
                                                      Clearing Bank                                                          Nature of Debts (Check one box)
                                                      Nonprofit Organization qualified
                                                      under 26 U.S.C. § 501(c)(3)                     Consumer/Non-Business                       Business

                               Filing Fee (Check one box)                                                                       Chapter 11 Debtors
    Full Filing Fee attached                                                                      Check one box:
                                                                                                     Debtor is a small business debtor as defined in 11 U.S.C. § 101(51D).
    Filing Fee to be paid in installments (Applicable to individuals only) Must
    attach signed application for the court's consideration certifying that the debtor                Debtor is not a small business debtor as defined in 11 U.S.C. § 101(51D).
    is unable to pay fee except in installments. Rule 1006(b). See Official Form 3A.
                                                                                                  Check if:
    Filing Fee waiver requested (Applicable to chapter 7 individuals only). Must
    attach signed application for the court's consideration. See Official Form 3B.                   Debtor's aggregate noncontingent liquidated debts owed to non-insiders
                                                                                                     or affiliates are less than $2 million.
Statistical/Administrative Information                                                                                                            THIS SPACE IS FOR COURT USE ONLY
   Debtor estimates that funds will be available for distribution to unsecured creditors.
    Debtor estimates that, after any exempt property is excluded and administrative expenses paid, there will be no funds
    available for distribution to unsecured creditors.
Estimated Number of Creditors
        1-           50-         100-          200-      1000-        5001-       10,001-      25,001-        50,001-     OVER
        49           99          199           999       5,000       10,000       25,000       50,000         100,000    100,000



Estimated Assets
     $0 to           $50,001 to         $100,001 to      $500,001 to      $1,000,001 to      $10,000,001 to     $50,000,001 to      More than
    $50,000           $100,000           $500,000         $1 million       $10 million        $50 million        $100 million      $100 million



Estimated Debts
     $0 to           $50,001 to         $100,001 to      $500,001 to      $1,000,001 to      $10,000,001 to     $50,000,001 to      More than
    $50,000           $100,000           $500,000         $1 million       $10 million        $50 million        $100 million      $100 million
            Case: 06-10899-MWV Doc #: 1 Filed: 07/31/06 Desc: Main Document                                                            Page 2 of 45
(Official Form 1) (10/05)                                                                                                               FORM B1, Page 2
                                                                                Name of Debtor(s):
Voluntary Petition                                                                Avard, Kevin A
(This page must be completed and filed in every case)                             Avard, Naomi K
                             Prior Bankruptcy Case Filed Within Last 8 Years (If more than one, attach additional sheet)
Location                                                               Case Number:                          Date Filed:
Where Filed: - None -
          Pending Bankruptcy Case Filed by any Spouse, Partner, or Affiliate of this Debtor (If more than one, attach additional sheet)
Name of Debtor:                                                     Case Number:                          Date Filed:
 - None -
District:                                                           Relationship:                         Judge:

                                  Exhibit A                                                                              Exhibit B
                                                                                  (To be completed if debtor is an individual whose debts are primarily consumer debts.)
  (To be completed if debtor is required to file periodic reports (e.g.,          I, the attorney for the petitioner named in the foregoing petition, declare that I
  forms 10K and 10Q) with the Securities and Exchange Commission                  have informed the petitioner that [he or she] may proceed under chapter 7, 11,
  pursuant to Section 13 or 15(d) of the Securities Exchange Act of 1934          12, or 13 of title 11, United States Code, and have explained the relief available
  and is requesting relief under chapter 11.)                                     under each such chapter.
                                                                                  I further certify that I delivered to the debtor the notice required by §342(b) of
                                                                                  the Bankruptcy Code.
      Exhibit A is attached and made a part of this petition.
                                                                                  X    /s/ Timothy P. Smith, Esq.                               July 31, 2006
                                                                                      Signature of Attorney for Debtor(s)                    Date
                                                                                       Timothy P. Smith, Esq. BNH01446
                                  Exhibit C                                                   Certification Concerning Debt Counseling
                                                                                                     by Individual/Joint Debtor(s)
  Does the debtor own or have possession of any property that poses or
  is alleged to pose a threat of imminent and identifiable harm to public             I/we have received approved budget and credit counseling during
  health or safety?                                                                   the 180-day period preceding the filing of this petition.

      Yes, and Exhibit C is attached and made a part of this petition.                I/we request a waiver of the requirement to obtain budget and
                                                                                      credit counseling prior to filing based on exigent circumstances.
      No                                                                              (Must attach certification describing.)

                                         Information Regarding the Debtor (Check the Applicable Boxes)

                                                           Venue (Check any applicable box)

                 Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180
                 days immediately preceding the date of this petition or for a longer part of such 180 days than in any other District.

                 There is a bankruptcy case concerning debtor's affiliate, general partner, or partnership pending in this District.

                 Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United States in
                 this District, or has no principal place of business or assets in the United States but is a defendant in an action or
                 proceeding [in a federal or state court] in this District, or the interests of the parties will be served in regard to the relief
                 sought in this District.


                                     Statement by a Debtor Who Resides as a Tenant of Residential Property
                                                           Check all applicable boxes.

                 Landlord has a judgment against the debtor for possession of debtor's residence. (If box checked, complete the following.)


                                  (Name of landlord that obtained judgment)




                                  (Address of landlord)


                 Debtor claims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be
                 permitted to cure the entire monetary default that gave rise to the judgment for possession, after the judgment for
                 possession was entered, and

                 Debtor has included in this petition the deposit with the court of any rent that would become due during the 30-day period
                 after the filing of the petition.
             Case: 06-10899-MWV Doc #: 1 Filed: 07/31/06 Desc: Main Document                                                         Page 3 of 45
(Official Form 1) (10/05)                                                                                                           FORM B1, Page 3
                                                                                  Name of Debtor(s):
Voluntary Petition                                                                   Avard, Kevin A
(This page must be completed and filed in every case)                                Avard, Naomi K
                                                                             Signatures
                Signature(s) of Debtor(s) (Individual/Joint)                                     Signature of a Foreign Representative
                                                                                    I declare under penalty of perjury that the information provided in this petition
     I declare under penalty of perjury that the information provided in            is true and correct, that I am the foreign representative of a debtor in a foreign
     this petition is true and correct.                                             proceeding, and that I am authorized to file this petition.
     [If petitioner is an individual whose debts are primarily consumer             (Check only one box.)
     debts and has chosen to file under chapter 7] I am aware that I may
                                                                                       I request relief in accordance with chapter 15 of title 11. United States Code.
     proceed under chapter 7, 11, 12, or 13 of title 11, United States                 Certified copies of the documents required by §1515 of title 11 are attached.
     Code, understand the relief available under each such chapter, and
     choose to proceed under chapter 7.                                                Pursuant to §1511 of title 11, United States Code, I request relief in accor-
     [If no attorney represents me and no bankruptcy petition preparer                 dance with the chapter of title 11 specified in this petition. A certified copy
     signs the petition] I have obtained and read the notice required by               of the order granting recognition of the foreign main proceeding is attached.
     §342(b) of the Bankruptcy Code.
     I request relief in accordance with the chapter of title 11, United
                                                                                  X
                                                                                      Signature of Foreign Representative
     States Code, specified in this petition.

 X    /s/ Kevin A Avard                                                               Printed Name of Foreign Representative
     Signature of Debtor Kevin A Avard
                                                                                      Date
 X    /s/ Naomi K Avard
     Signature of Joint Debtor Naomi K Avard                                             Signature of Non-Attorney Bankruptcy Petition Preparer

                                                                                      I declare under penalty of perjury that: (1) I am a bankruptcy
     Telephone Number (If not represented by attorney)                                petition preparer as defined in 11 U.S.C. § 110; (2) I prepared this
                                                                                      document for compensation and have provided the debtor with a
     July 31, 2006                                                                    copy of this document and the notices and information required
     Date                                                                             under 11 U.S.C. §§ 110(b), 110(h), and 342(b); and, (3) if rules or
                                                                                      guidelines have been promulgated pursuant to 11 U.S.C. § 110(h)
                            Signature of Attorney                                     setting a maximum fee for services chargeable by bankruptcy
                                                                                      petition preparers, I have given the debtor notice of the maximum
 X    /s/ Timothy P. Smith, Esq.                                                      amount before preparing any document for filing for a debtor or
     Signature of Attorney for Debtor(s)                                              accepting any fee from the debtor, as required in that section.
                                                                                      Official Form 19B is attached.
      Timothy P. Smith, Esq. BNH01446
     Printed Name of Attorney for Debtor(s)
                                                                                      Printed Name and title, if any, of Bankruptcy Petition Preparer
      Timothy P. Smith, Esq.
     Firm Name
      67 Middle Street                                                                Social Security number (If the bankrutpcy petition preparer is not
      Manchester, NH 03101                                                            an individual, state the Social Security number of the officer,
                                                                                      principal, responsible person or partner of the bankruptcy petition
                                                                                      preparer.)(Required by 11 U.S.C. § 110.)
     Address

                                   Email: tpscli@aol.com
      603-623-0036 Fax: 603-623-1366
     Telephone Number
                                                                                      Address
     July 31, 2006
     Date
                                                                                  X
               Signature of Debtor (Corporation/Partnership)
                                                                                      Date
     I declare under penalty of perjury that the information provided in
     this petition is true and correct, and that I have been authorized to            Signature of Bankruptcy Petition Preparer or officer, principal,
     file this petition on behalf of the debtor.                                      responsible person,or partner whose social security number is
     The debtor requests relief in accordance with the chapter of title 11,           provided above.
     United States Code, specified in this petition.
                                                                                      Names and Social Security numbers of all other individuals who
                                                                                      prepared or assisted in preparing this document unless the
 X                                                                                    bankruptcy petition preparer is not an individual:
     Signature of Authorized Individual

     Printed Name of Authorized Individual
                                                                                      If more than one person prepared this document, attach additional
                                                                                      sheets conforming to the appropriate official form for each person.
     Title of Authorized Individual
                                                                                      A bankruptcy petition preparer’s failure to comply with the
                                                                                      provisions of title 11 and the Federal Rules of Bankruptcy
     Date
                                                                                      Procedure may result in fines or imprisonment or both 11 U.S.C.
                                                                                      §110; 18 U.S.C. §156.
              Case: 06-10899-MWV Doc #: 1 Filed: 07/31/06 Desc: Main Document                                                        Page 4 of 45

Official Form 7
(10/05)


                                                                  United States Bankruptcy Court
                                                                            District of New Hampshire
             Kevin A Avard
 In re       Naomi K Avard                                                                                        Case No.
                                                                                             Debtor(s)            Chapter        7


                                                          STATEMENT OF FINANCIAL AFFAIRS

           This statement is to be completed by every debtor. Spouses filing a joint petition may file a single statement on which the information for
both spouses is combined. If the case is filed under chapter 12 or chapter 13, a married debtor must furnish information for both spouses whether or
not a joint petition is filed, unless the spouses are separated and a joint petition is not filed. An individual debtor engaged in business as a sole
proprietor, partner, family farmer, or self-employed professional, should provide the information requested on this statement concerning all such
activities as well as the individual's personal affairs. Do not include the name or address of a minor child in this statement. Indicate payments,
transfers and the like to minor children by stating "a minor child." See 11 U.S.C. § 112; Fed. R. Bankr. P. 1007(m).

          Questions 1 - 18 are to be completed by all debtors. Debtors that are or have been in business, as defined below, also must complete
Questions 19 - 25. If the answer to an applicable question is "None," mark the box labeled "None." If additional space is needed for the answer
to any question, use and attach a separate sheet properly identified with the case name, case number (if known), and the number of the question.


                                                                                             DEFINITIONS

          "In business." A debtor is "in business" for the purpose of this form if the debtor is a corporation or partnership. An individual debtor is "in
business" for the purpose of this form if the debtor is or has been, within six years immediately preceding the filing of this bankruptcy case, any of
the following: an officer, director, managing executive, or owner of 5 percent or more of the voting or equity securities of a corporation; a partner,
other than a limited partner, of a partnership; a sole proprietor or self-employed full-time or part-time. An individual debtor also may be "in business"
for the purpose of this form if the debtor engages in a trade, business, or other activity, other than as an employee, to supplement income from the
debtor's primary employment.

          "Insider." The term "insider" includes but is not limited to: relatives of the debtor; general partners of the debtor and their relatives;
corporations of which the debtor is an officer, director, or person in control; officers, directors, and any owner of 5 percent or more of the voting or
equity securities of a corporate debtor and their relatives; affiliates of the debtor and insiders of such affiliates; any managing agent of the debtor. 11
U.S.C. § 101.

                                                               __________________________________________

                  1. Income from employment or operation of business

    None          State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of the debtor's
     o            business, including part-time activities either as an employee or in independent trade or business, from the beginning of this calendar
                  year to the date this case was commenced. State also the gross amounts received during the two years immediately preceding this
                  calendar year. (A debtor that maintains, or has maintained, financial records on the basis of a fiscal rather than a calendar year may
                  report fiscal year income. Identify the beginning and ending dates of the debtor's fiscal year.) If a joint petition is filed, state income for
                  each spouse separately. (Married debtors filing under chapter 12 or chapter 13 must state income of both spouses whether or not a joint
                  petition is filed, unless the spouses are separated and a joint petition is not filed.)

                           AMOUNT                                   SOURCE
                           $24,000.00                               2006-business
                           $10,628.00                               2005-H self employmetn
                           $20,651.00                               2005-W Employment Ross Express
                           $9,558.00                                2004-H self employment
                           $34,756.00                               2004-W Employment Ross Express




Software Copyright (c) 1996-2005 Best Case Solutions, Inc. - Evanston, IL - (800) 492-8037                                                        Best Case Bankruptcy
              Case: 06-10899-MWV Doc #: 1 Filed: 07/31/06 Desc: Main Document                                               Page 5 of 45


                                                                                                                                                           2

               2. Income other than from employment or operation of business

    None       State the amount of income received by the debtor other than from employment, trade, profession, or operation of the debtor's business
     o         during the two years immediately preceding the commencement of this case. Give particulars. If a joint petition is filed, state income for
               each spouse separately. (Married debtors filing under chapter 12 or chapter 13 must state income for each spouse whether or not a joint
               petition is filed, unless the spouses are separated and a joint petition is not filed.)

                           AMOUNT                                   SOURCE
                           $2,438.00                                W short term disability- 2006
                           $16,260.00                               W short term disability-2005

               3. Payments to creditors

    None       Complete a. or b., as appropriate, and c.
     o
               a. Individual or joint debtor(s) with primarily consumer debts. List all payments on loans, installment purchases of goods or services,
               and other debts to any creditor made within 90 days immediately preceding the commencement of this case if the aggregate value of all
               property that constitutes or is affected by such transfer is not less than $600. Indicate with an (*) any payments that were made to a
               creditor on account of a domestic support obligation or as part of an alternative repayment schedule under a plan by an approved
               nonprofit budgeting and creditor counseling agency. (Married debtors filing under chapter 12 or chapter 13 must include payments by
               either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

 NAME AND ADDRESS                                                                  DATES OF                                          AMOUNT STILL
     OF CREDITOR                                                                   PAYMENTS                     AMOUNT PAID             OWING
 NovaStar                                                                          monthly-1278.01                 $3,670.20         $141,820.00
 PO Box 2900
 Mission, KS 66201
 NovaStar                                                                          monthly-398.23                  $1,194.69           $35,857.05
 PO Box 808911
 Kansas City, MO 64184
 GMAC                                                                              monthly-759.92                  $2,279.00            $8,986.48
 PO Box 830069
 Baltimore, MD 21283-0069

    None       b. Debtor whose debts are not primarily consumer debts: List each payment or other transfer to any creditor made within 90 days
     n         immediately preceding the commencement of the case if the aggregate value of all property that constitutes or is affected by such
               transfer is not less than $5,000. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both spouses
               whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                                                                    AMOUNT
                                                                                   DATES OF                          PAID OR
                                                                                   PAYMENTS/                       VALUE OF          AMOUNT STILL
 NAME AND ADDRESS OF CREDITOR                                                      TRANSFERS                      TRANSFERS            OWING

    None       c. All debtors: List all payments made within one year immediately preceding the commencement of this case to or for the benefit of
     o         creditors who are or were insiders. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both
               spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

 NAME AND ADDRESS OF CREDITOR AND                                                                                                    AMOUNT STILL
        RELATIONSHIP TO DEBTOR                                                     DATE OF PAYMENT              AMOUNT PAID            OWING
 Karolee A. Avard                                                                  monthly child support paid       $478.80             $984.60
 13 Bye Street                                                                     through the State of NH
 Penacook, NH 03303
    ex-wife




Software Copyright (c) 1996-2005 Best Case Solutions, Inc. - Evanston, IL - (800) 492-8037                                               Best Case Bankruptcy
              Case: 06-10899-MWV Doc #: 1 Filed: 07/31/06 Desc: Main Document                                                   Page 6 of 45


                                                                                                                                                             3

               4. Suits and administrative proceedings, executions, garnishments and attachments

    None       a. List all suits and administrative proceedings to which the debtor is or was a party within one year immediately preceding the filing of
     n         this bankruptcy case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses
               whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

 CAPTION OF SUIT                                                                             COURT OR AGENCY            STATUS OR
 AND CASE NUMBER                                 NATURE OF PROCEEDING                        AND LOCATION               DISPOSITION

    None       b. Describe all property that has been attached, garnished or seized under any legal or equitable process within one year immediately
     n         preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
               property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
               filed.)

 NAME AND ADDRESS OF PERSON FOR WHOSE                                                                 DESCRIPTION AND VALUE OF
    BENEFIT PROPERTY WAS SEIZED                                                 DATE OF SEIZURE              PROPERTY

               5. Repossessions, foreclosures and returns

    None       List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed in lieu of foreclosure or
     o         returned to the seller, within one year immediately preceding the commencement of this case. (Married debtors filing under chapter 12
               or chapter 13 must include information concerning property of either or both spouses whether or not a joint petition is filed, unless the
               spouses are separated and a joint petition is not filed.)

                                                                         DATE OF REPOSSESSION,
 NAME AND ADDRESS OF                                                        FORECLOSURE SALE,           DESCRIPTION AND VALUE OF
  CREDITOR OR SELLER                                                      TRANSFER OR RETURN                     PROPERTY
 Sovereign Bank                                                         April 27, 2006                  2003 Nissan Xterra valued at 18,600.00
 PO Box 4020
 Rocky Hill, CT 06067

               6. Assignments and receiverships

    None       a. Describe any assignment of property for the benefit of creditors made within 120 days immediately preceding the commencement of
     n         this case. (Married debtors filing under chapter 12 or chapter 13 must include any assignment by either or both spouses whether or not a
               joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                        DATE OF
 NAME AND ADDRESS OF ASSIGNEE                                           ASSIGNMENT                      TERMS OF ASSIGNMENT OR SETTLEMENT

    None       b. List all property which has been in the hands of a custodian, receiver, or court-appointed official within one year immediately
     n         preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
               property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
               filed.)

                                                                   NAME AND LOCATION
 NAME AND ADDRESS                                                       OF COURT                         DATE OF        DESCRIPTION AND VALUE OF
   OF CUSTODIAN                                                    CASE TITLE & NUMBER                   ORDER                PROPERTY

               7. Gifts

    None       List all gifts or charitable contributions made within one year immediately preceding the commencement of this case except ordinary
     n         and usual gifts to family members aggregating less than $200 in value per individual family member and charitable contributions
               aggregating less than $100 per recipient. (Married debtors filing under chapter 12 or chapter 13 must include gifts or contributions by
               either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

   NAME AND ADDRESS OF                                             RELATIONSHIP TO                                        DESCRIPTION AND
 PERSON OR ORGANIZATION                                             DEBTOR, IF ANY                      DATE OF GIFT       VALUE OF GIFT




Software Copyright (c) 1996-2005 Best Case Solutions, Inc. - Evanston, IL - (800) 492-8037                                                 Best Case Bankruptcy
              Case: 06-10899-MWV Doc #: 1 Filed: 07/31/06 Desc: Main Document                                                 Page 7 of 45


                                                                                                                                                              4

               8. Losses

    None       List all losses from fire, theft, other casualty or gambling within one year immediately preceding the commencement of this case or
     n         since the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include losses by either or both
               spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                                       DESCRIPTION OF CIRCUMSTANCES AND, IF
 DESCRIPTION AND VALUE                                                                 LOSS WAS COVERED IN WHOLE OR IN PART
     OF PROPERTY                                                                          BY INSURANCE, GIVE PARTICULARS         DATE OF LOSS

               9. Payments related to debt counseling or bankruptcy

    None       List all payments made or property transferred by or on behalf of the debtor to any persons, including attorneys, for consultation
     o         concerning debt consolidation, relief under the bankruptcy law or preparation of the petition in bankruptcy within one year immediately
               preceding the commencement of this case.

                                                                                     DATE OF PAYMENT,                      AMOUNT OF MONEY
 NAME AND ADDRESS                                                                 NAME OF PAYOR IF OTHER               OR DESCRIPTION AND VALUE
     OF PAYEE                                                                           THAN DEBTOR                           OF PROPERTY
 Timothy P. Smith, Esq.                                                           June 2006                           $1299.00
 67 Middle Street
 Manchester, NH 03101
 CCCS                                                                             May 1, 2006                         $100.00
 100 Edgewood Ave.
 Suite 1800
 Atlanta, GA 30303

               10. Other transfers

    None       a. List all other property, other than property transferred in the ordinary course of the business or financial affairs of the debtor,
     n         transferred either absolutely or as security within two years immediately preceding the commencement of this case. (Married debtors
               filing under chapter 12 or chapter 13 must include transfers by either or both spouses whether or not a joint petition is filed, unless the
               spouses are separated and a joint petition is not filed.)

 NAME AND ADDRESS OF TRANSFEREE,                                                                        DESCRIBE PROPERTY TRANSFERRED
     RELATIONSHIP TO DEBTOR                                                     DATE                           AND VALUE RECEIVED

    None       b. List all property transferred by the debtor within ten years immediately preceding the commencement of this case to a self-settled
     n         trust or similar device of which the debtor is a beneficiary.

 NAME OF TRUST OR OTHER                                                                                 AMOUNT OF MONEY OR DESCRIPTION AND
 DEVICE                                                                         DATE(S) OF              VALUE OF PROPERTY OR DEBTOR'S INTEREST
                                                                                TRANSFER(S)             IN PROPERTY

               11. Closed financial accounts

    None       List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which were closed, sold, or
     o         otherwise transferred within one year immediately preceding the commencement of this case. Include checking, savings, or other
               financial accounts, certificates of deposit, or other instruments; shares and share accounts held in banks, credit unions, pension funds,
               cooperatives, associations, brokerage houses and other financial institutions. (Married debtors filing under chapter 12 or chapter 13 must
               include information concerning accounts or instruments held by or for either or both spouses whether or not a joint petition is filed,
               unless the spouses are separated and a joint petition is not filed.)

                                                                                   TYPE OF ACCOUNT, LAST FOUR
                                                                                    DIGITS OF ACCOUNT NUMBER,          AMOUNT AND DATE OF SALE
 NAME AND ADDRESS OF INSTITUTION                                                  AND AMOUNT OF FINAL BALANCE                   OR CLOSING
 Franklin Savings Bank                                                            Savings/overdraft account            Closed November 2005 $0
 387 Central Street                                                                                                    balance at closing
 Franklin, NH 03235




Software Copyright (c) 1996-2005 Best Case Solutions, Inc. - Evanston, IL - (800) 492-8037                                                  Best Case Bankruptcy
              Case: 06-10899-MWV Doc #: 1 Filed: 07/31/06 Desc: Main Document                                                   Page 8 of 45


                                                                                                                                                                5

               12. Safe deposit boxes

    None       List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other valuables within one year
     n         immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include boxes or
               depositories of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
               filed.)

                                                              NAMES AND ADDRESSES
 NAME AND ADDRESS OF BANK                                     OF THOSE WITH ACCESS                    DESCRIPTION               DATE OF TRANSFER OR
  OR OTHER DEPOSITORY                                         TO BOX OR DEPOSITORY                    OF CONTENTS                SURRENDER, IF ANY

               13. Setoffs

    None       List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 days preceding the
     n         commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both
               spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

 NAME AND ADDRESS OF CREDITOR                                                     DATE OF SETOFF                        AMOUNT OF SETOFF

               14. Property held for another person

    None       List all property owned by another person that the debtor holds or controls.
     n
                                                                                  DESCRIPTION AND VALUE OF
 NAME AND ADDRESS OF OWNER                                                               PROPERTY                       LOCATION OF PROPERTY

               15. Prior address of debtor

    None       If the debtor has moved within three years immediately preceding the commencement of this case, list all premises which the debtor
     n         occupied during that period and vacated prior to the commencement of this case. If a joint petition is filed, report also any separate
               address of either spouse.

 ADDRESS                                                                          NAME USED                             DATES OF OCCUPANCY

               16. Spouses and Former Spouses

    None       If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona, California, Idaho,
     n         Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within eight years immediately preceding the
               commencement of the case, identify the name of the debtor’s spouse and of any former spouse who resides or resided with the debtor in
               the community property state.

 NAME

               17. Environmental Information.

               For the purpose of this question, the following definitions apply:

               "Environmental Law" means any federal, state, or local statute or regulation regulating pollution, contamination, releases of hazardous
               or toxic substances, wastes or material into the air, land, soil, surface water, groundwater, or other medium, including, but not limited to,
               statutes or regulations regulating the cleanup of these substances, wastes, or material.

                      "Site" means any location, facility, or property as defined under any Environmental Law, whether or not presently or formerly
                      owned or operated by the debtor, including, but not limited to, disposal sites.

                      "Hazardous Material" means anything defined as a hazardous waste, hazardous substance, toxic substance, hazardous material,
                      pollutant, or contaminant or similar term under an Environmental Law




Software Copyright (c) 1996-2005 Best Case Solutions, Inc. - Evanston, IL - (800) 492-8037                                                    Best Case Bankruptcy
              Case: 06-10899-MWV Doc #: 1 Filed: 07/31/06 Desc: Main Document                                                   Page 9 of 45


                                                                                                                                                               6
    None       a. List the name and address of every site for which the debtor has received notice in writing by a governmental unit that it may be liable
     n         or potentially liable under or in violation of an Environmental Law. Indicate the governmental unit, the date of the notice, and, if known,
               the Environmental Law:

                                                              NAME AND ADDRESS OF                 DATE OF                       ENVIRONMENTAL
 SITE NAME AND ADDRESS                                        GOVERNMENTAL UNIT                   NOTICE                        LAW

    None       b. List the name and address of every site for which the debtor provided notice to a governmental unit of a release of Hazardous
     n         Material. Indicate the governmental unit to which the notice was sent and the date of the notice.

                                                              NAME AND ADDRESS OF                 DATE OF                       ENVIRONMENTAL
 SITE NAME AND ADDRESS                                        GOVERNMENTAL UNIT                   NOTICE                        LAW

    None       c. List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law with respect to which
     n         the debtor is or was a party. Indicate the name and address of the governmental unit that is or was a party to the proceeding, and the
               docket number.

 NAME AND ADDRESS OF
 GOVERNMENTAL UNIT                                                                DOCKET NUMBER                         STATUS OR DISPOSITION

               18 . Nature, location and name of business

    None       a. If the debtor is an individual, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
     o         ending dates of all businesses in which the debtor was an officer, director, partner, or managing executive of a corporation, partner in a
               partnership, sole proprietor, or was self-employed in a trade, profession, or other activity either full- or part-time within six years
               immediately preceding the commencement of this case, or in which the debtor owned 5 percent or more of the voting or equity securities
               within six years immediately preceding the commencement of this case.

               If the debtor is a partnership, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
               ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities, within six
               years immediately preceding the commencement of this case.

               If the debtor is a corporation, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
               ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities within six
               years immediately preceding the commencement of this case.

                        LAST FOUR DIGITS
                        OF SOC. SEC. NO./
                        COMPLETE EIN OR
                        OTHER TAXPAYER                                                                                             BEGINNING AND
 NAME                   I.D. NO.                                         ADDRESS                  NATURE OF BUSINESS               ENDING DATES
 Aardvark Dean of Clean 0870                                             100 Beech Street         Janitorial Carpet                July 1988 until
                                                                         Franklin, NH 03235       cleaning                         present

    None       b. Identify any business listed in response to subdivision a., above, that is "single asset real estate" as defined in 11 U.S.C. § 101.
     n
 NAME                                                                           ADDRESS


    The following questions are to be completed by every debtor that is a corporation or partnership and by any individual debtor who is or has
been, within six years immediately preceding the commencement of this case, any of the following: an officer, director, managing executive, or
owner of more than 5 percent of the voting or equity securities of a corporation; a partner, other than a limited partner, of a partnership, a sole
proprietor or self-employed in a trade, profession, or other activity, either full- or part-time.

     (An individual or joint debtor should complete this portion of the statement only if the debtor is or has been in business, as defined above,
within six years immediately preceding the commencement of this case. A debtor who has not been in business within those six years should go
directly to the signature page.)




Software Copyright (c) 1996-2005 Best Case Solutions, Inc. - Evanston, IL - (800) 492-8037                                                   Best Case Bankruptcy
             Case: 06-10899-MWV Doc #: 1 Filed: 07/31/06 Desc: Main Document                                                    Page 10 of 45


                                                                                                                                                                7

               19. Books, records and financial statements

    None       a. List all bookkeepers and accountants who within two years immediately preceding the filing of this bankruptcy case kept or
     n         supervised the keeping of books of account and records of the debtor.

 NAME AND ADDRESS                                                                                               DATES SERVICES RENDERED

    None       b. List all firms or individuals who within the two years immediately preceding the filing of this bankruptcy case have audited the books
     n         of account and records, or prepared a financial statement of the debtor.

 NAME                                                  ADDRESS                                                  DATES SERVICES RENDERED

    None       c. List all firms or individuals who at the time of the commencement of this case were in possession of the books of account and records
     n         of the debtor. If any of the books of account and records are not available, explain.

 NAME                                                                                               ADDRESS

    None       d. List all financial institutions, creditors and other parties, including mercantile and trade agencies, to whom a financial statement was
     n         issued by the debtor within two years immediately preceding the commencement of this case.

 NAME AND ADDRESS                                                                                         DATE ISSUED

               20. Inventories

    None       a. List the dates of the last two inventories taken of your property, the name of the person who supervised the taking of each inventory,
     n         and the dollar amount and basis of each inventory.

                                                                                                                DOLLAR AMOUNT OF INVENTORY
 DATE OF INVENTORY                                     INVENTORY SUPERVISOR                                     (Specify cost, market or other basis)

    None       b. List the name and address of the person having possession of the records of each of the two inventories reported in a., above.
     n
                                                                                             NAME AND ADDRESSES OF CUSTODIAN OF INVENTORY
 DATE OF INVENTORY                                                                           RECORDS

               21 . Current Partners, Officers, Directors and Shareholders

    None       a. If the debtor is a partnership, list the nature and percentage of partnership interest of each member of the partnership.
     n
 NAME AND ADDRESS                                                               NATURE OF INTEREST                        PERCENTAGE OF INTEREST

    None       b. If the debtor is a corporation, list all officers and directors of the corporation, and each stockholder who directly or indirectly owns,
     n         controls, or holds 5 percent or more of the voting or equity securities of the corporation.

                                                                                                                NATURE AND PERCENTAGE
 NAME AND ADDRESS                                                               TITLE                           OF STOCK OWNERSHIP

               22 . Former partners, officers, directors and shareholders

    None       a. If the debtor is a partnership, list each member who withdrew from the partnership within one year immediately preceding the
     n         commencement of this case.

 NAME                                                              ADDRESS                                               DATE OF WITHDRAWAL

    None       b. If the debtor is a corporation, list all officers, or directors whose relationship with the corporation terminated within one year
     n         immediately preceding the commencement of this case.

 NAME AND ADDRESS                                                               TITLE                           DATE OF TERMINATION




Software Copyright (c) 1996-2005 Best Case Solutions, Inc. - Evanston, IL - (800) 492-8037                                                    Best Case Bankruptcy
             Case: 06-10899-MWV Doc #: 1 Filed: 07/31/06 Desc: Main Document                                                         Page 11 of 45


                                                                                                                                                                      8

               23 . Withdrawals from a partnership or distributions by a corporation

    None       If the debtor is a partnership or corporation, list all withdrawals or distributions credited or given to an insider, including compensation
     n         in any form, bonuses, loans, stock redemptions, options exercised and any other perquisite during one year immediately preceding the
               commencement of this case.

 NAME & ADDRESS                                                                                                              AMOUNT OF MONEY
 OF RECIPIENT,                                                                  DATE AND PURPOSE                             OR DESCRIPTION AND
 RELATIONSHIP TO DEBTOR                                                         OF WITHDRAWAL                                VALUE OF PROPERTY

               24. Tax Consolidation Group.

    None       If the debtor is a corporation, list the name and federal taxpayer identification number of the parent corporation of any consolidated
     n         group for tax purposes of which the debtor has been a member at any time within six years immediately preceding the commencement
               of the case.

 NAME OF PARENT CORPORATION                                                                                      TAXPAYER IDENTIFICATION NUMBER (EIN)

               25. Pension Funds.

    None       If the debtor is not an individual, list the name and federal taxpayer identification number of any pension fund to which the debtor, as an
     n         employer, has been responsible for contributing at any time within six years immediately preceding the commencement of the case.

 NAME OF PENSION FUND                                                                                            TAXPAYER IDENTIFICATION NUMBER (EIN)


                                  DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR


I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial affairs and any attachments thereto
and that they are true and correct.


 Date July 31, 2006                                                             Signature    /s/ Kevin A Avard
                                                                                             Kevin A Avard
                                                                                             Debtor


 Date July 31, 2006                                                             Signature    /s/ Naomi K Avard
                                                                                             Naomi K Avard
                                                                                             Joint Debtor
                    Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §§ 152 and 3571




Software Copyright (c) 1996-2005 Best Case Solutions, Inc. - Evanston, IL - (800) 492-8037                                                          Best Case Bankruptcy
                Case: 06-10899-MWV Doc #: 1 Filed: 07/31/06 Desc: Main Document                                                         Page 12 of 45
Form B6A
(10/05)


           }
           b
           k
           1
           {
           S
           c
           h
           e
           d
           u
           l
           A
           .
           R
           a
           P
           r
           o
           p
           t
           y




  In re          Kevin A Avard,                                                                                           Case No.
                 Naomi K Avard
                                                                                                              ,
                                                                                                Debtors
                                                                  SCHEDULE A. REAL PROPERTY
      Except as directed below, list all real property in which the debtor has any legal, equitable, or future interest, including all property owned as a
cotenant, community property, or in which the debtor has a life estate. Include any property in which the debtor holds rights and powers exercisable for
the debtor's own benefit. If the debtor is married, state whether husband, wife, or both own the property by placing an "H," "W," "J," or "C" in the column
labeled "Husband, Wife, Joint, or Community." If the debtor holds no interest in real property, write "None" under "Description and Location of Property."
      Do not include interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
Unexpired Leases.
      If an entity claims to have a lien or hold a secured interest in any property, state the amount of the secured claim. See Schedule D. If no entity
claims to hold a secured interest in the property, write "None" in the column labeled "Amount of Secured Claim."
      If the debtor is an individual or if a joint petition is filed, state the amount of any exemption claimed in the property only in Schedule C - Property
Claimed as Exempt.

                                                                                                              Husband,     Current Value of
                                                                                      Nature of Debtor's       Wife,      Debtor's Interest in          Amount of
                 Description and Location of Property                                 Interest in Property                 Property, without
                                                                                                               Joint, or Deducting                     Secured Claim
                                                                                                             Community             any Secured
                                                                                                                          Claim or Exemption

100 Beech Street, Franklin, NH                                                                                    W                  180,000.00               177,677.05

Timeshare                                                                                                         H                    9,000.00                        0.00




                                                                                                              Sub-Total >            189,000.00       (Total of this page)

                                                                                                                      Total >        189,000.00
  0      continuation sheets attached to the Schedule of Real Property                                        (Report also on Summary of Schedules)
Copyright (c) 1996-2005 - Best Case Solutions, Inc. - Evanston, IL - (800) 492-8037                                                                   Best Case Bankruptcy
                Case: 06-10899-MWV Doc #: 1 Filed: 07/31/06 Desc: Main Document                                                               Page 13 of 45
Form B6B
(10/05)


           }
           {
           b
           k
           1
           S
           c
           h
           e
           d
           u
           l
           B
           .
           P
           r
           s
           o
           n
           a
           p
           t
           y




  In re          Kevin A Avard,                                                                                               Case No.
                 Naomi K Avard
                                                                                                                  ,
                                                                                                 Debtors
                                                            SCHEDULE B. PERSONAL PROPERTY
   Except as directed below, list all personal property of the debtor of whatever kind. If the debtor has no property in one or more of the categories, place
an "x" in the appropriate position in the column labeled "None." If additional space is needed in any category, attach a separate sheet properly identified
with the case name, case number, and the number of the category. If the debtor is married, state whether husband, wife, or both own the property by placing
an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the debtor is an individual or a joint petition is filed, state the
amount of any exemptions claimed only in Schedule C - Property Claimed as Exempt.
  Do not list interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
Unexpired Leases.
If the property is being held for the debtor by someone else, state that person's name and address under "Description and Location of Property."
In providing the information requested in this schedule, do not include the name or address of a minor child. Simply state "a minor child."
                                                              N                                                                      Husband,        Current Value of
                 Type of Property                             O                       Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                              N                                                                       Joint, or   without Deducting any
                                                              E                                                                     Community Secured Claim or Exemption

1.     Cash on hand                                           X

2.     Checking, savings or other financial                       personal checking                                                      J                           100.00
       accounts, certificates of deposit, or
       shares in banks, savings and loan,                         Frankin Savings Bank-business checking,                                J                        1,000.00
       thrift, building and loan, and                             personal, checking(2)
       homestead associations, or credit
       unions, brokerage houses, or
       cooperatives.

3.     Security deposits with public                          X
       utilities, telephone companies,
       landlords, and others.

4.     Household goods and furnishings,                           ordinary                                                               J                        2,500.00
       including audio, video, and
       computer equipment.

5.     Books, pictures and other art                              books, cd's                                                            J                        1,000.00
       objects, antiques, stamp, coin,
       record, tape, compact disc, and
       other collections or collectibles.

6.     Wearing apparel.                                           ordinary                                                               J                           500.00

7.     Furs and jewelry.                                          ordinary                                                               J                        1,000.00

8.     Firearms and sports, photographic,                         cameras                                                                J                           500.00
       and other hobby equipment.

9.     Interests in insurance policies.                       X
       Name insurance company of each
       policy and itemize surrender or
       refund value of each.

10. Annuities. Itemize and name each                          X
    issuer.




                                                                                                                                         Sub-Total >            6,600.00
                                                                                                                             (Total of this page)

  2      continuation sheets attached to the Schedule of Personal Property

Copyright (c) 1996-2005 - Best Case Solutions, Inc. - Evanston, IL - (800) 492-8037                                                                         Best Case Bankruptcy
                Case: 06-10899-MWV Doc #: 1 Filed: 07/31/06 Desc: Main Document                                                               Page 14 of 45
Form B6B
(10/05)




  In re          Kevin A Avard,                                                                                               Case No.
                 Naomi K Avard
                                                                                                                  ,
                                                                                                 Debtors
                                                            SCHEDULE B. PERSONAL PROPERTY
                                                                                        (Continuation Sheet)

                                                              N                                                                      Husband,        Current Value of
                 Type of Property                             O                       Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                              N                                                                       Joint, or   without Deducting any
                                                              E                                                                     Community Secured Claim or Exemption

11. Interests in an education IRA as                          X
    defined in 26 U.S.C. § 530(b)(1) or
    under a qualified State tuition plan
    as defined in 26 U.S.C. § 529(b)(1).
    Give particulars. (File separately the
    record(s) of any such interest(s).
    11 U.S.C. § 521(c); Rule 1007(b)).

12. Interests in IRA, ERISA, Keogh, or                            Ross Express Inc. 401-k-Naomi                                          W                      16,165.64
    other pension or profit sharing
    plans. Give particulars.                                      American Funds IRA-Kevin                                               H                        4,619.11

13. Stock and interests in incorporated                           T.Rowe Price -Kevin                                                    H                           414.01
    and unincorporated businesses.
    Itemize.

14. Interests in partnerships or joint                        X
    ventures. Itemize.

15. Government and corporate bonds                            X
    and other negotiable and
    nonnegotiable instruments.

16. Accounts receivable.                                          business accounts recievable                                           J                        3,270.00

17. Alimony, maintenance, support, and                        X
    property settlements to which the
    debtor is or may be entitled. Give
    particulars.

18. Other liquidated debts owing debtor                       X
    including tax refunds. Give
    particulars.

19. Equitable or future interests, life                       X
    estates, and rights or powers
    exercisable for the benefit of the
    debtor other than those listed in
    Schedule A - Real Property.

20. Contingent and noncontingent                              X
    interests in estate of a decedent,
    death benefit plan, life insurance
    policy, or trust.

21. Other contingent and unliquidated                         X
    claims of every nature, including
    tax refunds, counterclaims of the
    debtor, and rights to setoff claims.
    Give estimated value of each.


                                                                                                                                         Sub-Total >          24,468.76
                                                                                                                             (Total of this page)

Sheet 1 of 2          continuation sheets attached
to the Schedule of Personal Property

Copyright (c) 1996-2005 - Best Case Solutions, Inc. - Evanston, IL - (800) 492-8037                                                                         Best Case Bankruptcy
                Case: 06-10899-MWV Doc #: 1 Filed: 07/31/06 Desc: Main Document                                                               Page 15 of 45
Form B6B
(10/05)




  In re          Kevin A Avard,                                                                                               Case No.
                 Naomi K Avard
                                                                                                                  ,
                                                                                                 Debtors
                                                            SCHEDULE B. PERSONAL PROPERTY
                                                                                        (Continuation Sheet)

                                                              N                                                                      Husband,        Current Value of
                 Type of Property                             O                       Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                              N                                                                       Joint, or   without Deducting any
                                                              E                                                                     Community Secured Claim or Exemption

22. Patents, copyrights, and other                            X
    intellectual property. Give
    particulars.

23. Licenses, franchises, and other                           X
    general intangibles. Give
    particulars.

24. Customer lists or other compilations                      X
    containing personally identifiable
    information (as defined in 11 U.S.C.
    § 101(41A)) provided to the debtor
    by individuals in connection with
    obtaining a product or service from
    the debtor primarily for personal,
    family, or household purposes.

25. Automobiles, trucks, trailers, and                            1995 Mazda Protege                                                      W                          500.00
    other vehicles and accessories.
                                                                  Utility Trailer                                                         H                          300.00

26. Boats, motors, and accessories.                           X

27. Aircraft and accessories.                                 X

28. Office equipment, furnishings, and                            computer, printer, fax                                                  J                       1,000.00
    supplies.

29. Machinery, fixtures, equipment, and                       X
    supplies used in business.

30. Inventory.                                                X

31. Animals.                                                  X

32. Crops - growing or harvested. Give                        X
    particulars.

33. Farming equipment and                                     X
    implements.

34. Farm supplies, chemicals, and feed.                       X

35. Other personal property of any kind                       X
    not already listed. Itemize.




                                                                                                                                         Sub-Total >            1,800.00
                                                                                                                             (Total of this page)
                                                                                                                                              Total >         32,868.76
Sheet 2 of 2          continuation sheets attached
to the Schedule of Personal Property                                                                                                     (Report also on Summary of Schedules)
Copyright (c) 1996-2005 - Best Case Solutions, Inc. - Evanston, IL - (800) 492-8037                                                                         Best Case Bankruptcy
                 Case: 06-10899-MWV Doc #: 1 Filed: 07/31/06 Desc: Main Document                                                           Page 16 of 45
 Form B6C
 (10/05)


            }
            E
            b
            x
            k
            e
            1
            m
            {
            p
            S
            t
            c
            h
            d
            u
            l
            C
            .
            P
            r
            o
            y
            a
            i
            s




   In re          Kevin A Avard,                                                                                          Case No.
                  Naomi K Avard
                                                                                                                 ,
                                                                                                Debtors
                                                SCHEDULE C. PROPERTY CLAIMED AS EXEMPT
 Debtor elects the exemptions to which debtor is entitled under:                                          Check if debtor claims a homestead exemption that exceeds
 (Check one box)                                                                                          $125,000.
    11 U.S.C. §522(b)(2)
    11 U.S.C. §522(b)(3)

                                                                                        Specify Law Providing                   Value of           Current Value of
                    Description of Property                                                Each Exemption                       Claimed            Property Without
                                                                                                                               Exemption         Deducting Exemption
Real Property
100 Beech Street, Franklin, NH                                                    N.H. Rev. Stat. Ann. § 480:1                       2,322.95               180,000.00

Timeshare                                                                         N.H. Rev. Stat. Ann. § 511:2(XVIII)                9,000.00                  9,000.00

Checking, Savings, or Other Financial Accounts, Certificates of Deposit
personal checking                                 N.H. Rev. Stat. Ann. § 511:2(XVIII)                                                  100.00                     100.00

Frankin Savings Bank-business checking,                                           N.H. Rev. Stat. Ann. § 511:2(XVIII)                1,000.00                  1,000.00
personal, checking(2)

Household Goods and Furnishings
ordinary                                                                          N.H. Rev. Stat. Ann. § 511:2(III)                  2,500.00                  2,500.00

Books, Pictures and Other Art Objects; Collectibles
books, cd's                                         N.H. Rev. Stat. Ann. § 511:2(VIII)                                               1,000.00                  1,000.00

Wearing Apparel
ordinary                                                                          N.H. Rev. Stat. Ann. § 511:2(I)                      500.00                     500.00

Furs and Jewelry
ordinary                                                                          N.H. Rev. Stat. Ann. § 511:2(XVII)                 1,000.00                  1,000.00

Firearms and Sports, Photographic and Other Hobby Equipment
cameras                                         N.H. Rev. Stat. Ann. § 511:2(XVIII)                                                    500.00                     500.00

Interests in IRA, ERISA, Keogh, or Other Pension or Profit Sharing Plans
Ross Express Inc. 401-k-Naomi                       N.H. Rev. Stat. Ann. §511:2(XIX)                                                16,165.64                16,165.64

American Funds IRA-Kevin                                                          N.H. Rev. Stat. Ann. §511:2(XIX)                   4,619.11                  4,619.11

Stock and Interests in Businesses
T.Rowe Price -Kevin                                                               N.H. Rev. Stat. Ann. § 511:2(XVIII)                  414.01                     414.01

Accounts Receivable
business accounts recievable                                                      N.H. Rev. Stat. Ann. § 511:2(XVIII)                3,270.00                  3,270.00

Automobiles, Trucks, Trailers, and Other Vehicles
1995 Mazda Protege                                                                N.H. Rev. Stat. Ann. § 511:2(XVI)                    500.00                     500.00

Utility Trailer                                                                   N.H. Rev. Stat. Ann. § 511:2(XVIII)                  300.00                     300.00

Office Equipment, Furnishings and Supplies
computer, printer, fax                                                            N.H. Rev. Stat. Ann. § 511:2(XVIII)                1,000.00                  1,000.00




    0      continuation sheets attached to Schedule of Property Claimed as Exempt
 Copyright (c) 1996-2005 - Best Case Solutions, Inc. - Evanston, IL - (800) 492-8037                                                                    Best Case Bankruptcy
                 Case: 06-10899-MWV Doc #: 1 Filed: 07/31/06 Desc: Main Document                                                                Page 17 of 45
 Form B6D
 (10/05)


            }
            c
            b
            u
            k
            r
            1
            e
            {
            d
            S
            C
            h
            l
            a
            i
            m
            s
            D
            .
            t
            o
            H
            n
            g




   In re          Kevin A Avard,                                                                                                  Case No.
                  Naomi K Avard
                                                                                                                     ,
                                                                                                      Debtors
                                       SCHEDULE D. CREDITORS HOLDING SECURED CLAIMS
      State the name, mailing address, including zip code, and last four digits of any account number of all entities holding claims secured by property
 of the debtor as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the trustee
 and the creditor and may be provided if the debtor chooses to do so. List creditors holding all types of secured interests such as judgment liens,
 garnishments, statutory liens, mortgages, deeds of trust, and other security interests.
      List creditors in alphabetical order to the extent practicable. If a minor child is a creditor, indicate that by stating "a minor child" and do not disclose
 the child's name. See 11 U.S.C§112; Fed.R.Bankr.P. 1007(m). If all secured creditors will not fit on this page, use the continuation sheet provided.
      If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor", include the entity
 on the appropriate schedule of creditors, and complete Schedule H-Codebtors. If a joint petition is filed, state whether husband, wife, both of them, or the
 marital community may be liable on each claim by placing an "H", "W", "J", or "C" in the column labeled "Husband, Wife, Joint, or Community." If the
 claim is contingent, place an "X" in the column labeled "Contingent". If the claim is unliquidated, place an "X" in the column labeled "Unliquidated". If
 the claim is disputed, place an "X" in the column labeled "Disputed". (You may need to place an "X" in more than one of these three columns.)
      Report the total of all claims listed on this schedule in the box labeled "Total" on the last sheet of the completed schedule. Report this total also on
 the Summary of Schedules.
      Check this box if debtor has no creditors holding secured claims to report on this Schedule D.
                                                                 C   Husband, Wife, Joint, or Community                       C    U   D     AMOUNT OF
              CREDITOR'S NAME                                    O                                                            O    N   I
                                                                 D   H          DATE CLAIM WAS INCURRED,                      N    L   S        CLAIM
           AND MAILING ADDRESS                                   E                                                            T    I   P       WITHOUT        UNSECURED
            INCLUDING ZIP CODE,                                  B   W             NATURE OF LIEN, AND                        I    Q   U                      PORTION, IF
                                                                 T   J           DESCRIPTION AND VALUE                        N    U   T
                                                                                                                                              DEDUCTING
           AND ACCOUNT NUMBER                                    O                                                            G    I   E       VALUE OF          ANY
             (See instructions above.)
                                                                     C                 OF PROPERTY
                                                                 R
                                                                                     SUBJECT TO LIEN
                                                                                                                              E    D   D     COLLATERAL
                                                                                                                              N    A
                                                                                                                              T    T
Account No.                                                              First Mortgage                                            E
                                                                                                                                   D

NovaStar                                                                 100 Beech Street, Franklin, NH
PO Box 808911
Kansas City, MO 64184
                                                                     W

                                                                          Value $                           180,000.00                         141,820.00                   0.00
Account No.                                                              Second Mortgage

NovaStar                                                                 100 Beech Street, Franklin, NH
PO Box 808911
Kansas City, MO 64184
                                                                     J

                                                                          Value $                           180,000.00                          35,857.05                   0.00
Account No.




                                                                          Value $
Account No.




                                                                          Value $
                                                                                                                           Subtotal
 0
_____ continuation sheets attached                                                                                                             177,677.05
                                                                                                                  (Total of this page)
                                                                                                                              Total            177,677.05
                                                                                                    (Report on Summary of Schedules)

 Copyright (c) 1996-2005 - Best Case Solutions, Inc. - Evanston, IL - (800) 492-8037                                                                        Best Case Bankruptcy
                Case: 06-10899-MWV Doc #: 1 Filed: 07/31/06 Desc: Main Document                                                Page 18 of 45
Form B6E
(10/05)


           }
           s
           b
           e
           k
           c
           1
           u
           {
           r
           S
           d
           h
           P
           i
           l
           o
           E
           t
           .
           y
           C
           a
           m
           H
           n
           g
           U




  In re          Kevin A Avard,                                                                               Case No.
                 Naomi K Avard
                                                                                                    ,
                                                                                      Debtors
                      SCHEDULE E. CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
          A complete list of claims entitled to priority, listed separately by type of priority, is to be set forth on the sheets provided. Only holders of
     unsecured claims entitled to priority should be listed in this schedule. In the boxes provided on the attached sheets, state the name, mailing address,
     including zip code, and last four digits of the account number, if any, of all entities holding priority claims against the debtor or the property of the
     debtor, as of the date of the filing of the petition. Use a separate continuation sheet for each type of priority and label each with the type of priority.
          The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if
     the debtor chooses to do so. If a minor child is a creditor, indicate that by stating "a minor child" and do not disclose the child’s name. See
     11 U.S.C.§112; Fed.R.Bankr.P. 1007(m).
          If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor", include the
     entity on the appropriate schedule of creditors, and complete Schedule H-Codebtors. If a joint petition is filed, state whether husband, wife, both of
     them or the marital community may be liable on each claim by placing an "H", "W", "J", or "C" in the column labeled "Husband, Wife, Joint, or
     Community". If the claim is contingent, place an "X" in the column labeled "Contingent". If the claim is unliquidated, place an "X" in the column
     labeled "Unliquidated". If the claim is disputed, place an "X" in the column labeled "Disputed". (You may need to place an "X" in more than one
     of these three columns.)
          Report the total of claims listed on each sheet in the box labeled "Subtotal" on each sheet. Report the total of all claims listed on this
     Schedule E in the box labeled "Total" on the last sheet of the completed schedule. Report this total also on the Summary of Schedules.
          Report the total of amounts entitled to priority listed on each sheet in the box labeled "Subtotal" on each sheet. Report the total of all
     amounts entitled to priority listed on this Schedule E in the box labeled "Total" on the last sheet of the completed schedule. If applicable, also
     report this total on the Means Test form.

           Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

     TYPES OF PRIORITY CLAIMS (Check the appropriate box(es) below if claims in that category are listed on the attached sheets.)
         Domestic support obligations
         Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian,
     or responsible relative of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent provided in
     11 U.S.C. § 507(a)(1).
         Extensions of credit in an involuntary case
         Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier
     of the appointment of a trustee or the order for relief. 11 U.S.C. § 507(a)(3).
         Wages, salaries, and commissions
         Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to qualifying
     independent sales representatives up to $10,000* per person earned within 180 days immediately preceding the filing of the original petition, or
     the cessation of business, which ever occurred first, to the extent provided in 11 U.S.C. § 507 (a)(4).
        Contributions to employee benefit plans
        Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the
     cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).
           Certain farmers and fishermen
           Claims of certain farmers and fishermen, up to $4,925* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).
        Deposits by individuals
        Claims of individuals up to $2,225* for deposits for the purchase, lease, or rental of property or services for personal, family, or household
     use, that were not delivered or provided. 11 U.S.C. § 507(a)(7).
           Taxes and certain other debts owed to governmental units
           Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C § 507(a)(8).
         Commitments to maintain the capital of an insured depository institution
         Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of Governors
     of the Federal Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11 U.S.C. § 507(a)(9).
        Claims for death or personal injury while debtor was intoxicated
        Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using
     alcohol, a drug, or another substance. 11 U.S.C. § 507(a)(10).




    *Amounts are subject to adjustment on April 1, 2007, and every three years thereafter with respect to cases commenced on or after the date of
    adjustment.
                                                            1      continuation sheets attached
Copyright (c) 1996-2005 - Best Case Solutions, Inc. - Evanston, IL - (800) 492-8037                                                            Best Case Bankruptcy
                    Case: 06-10899-MWV Doc #: 1 Filed: 07/31/06 Desc: Main Document                                                              Page 19 of 45
 Form B6E - Cont.
 (10/05)




   In re            Kevin A Avard,                                                                                                Case No.
                    Naomi K Avard
                                                                                                                     ,
                                                                                                      Debtors
                       SCHEDULE E. CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                                                                                          (Continuation Sheet)


                                                                                                                              Domestic Support Obligations
                                                                                                                                           TYPE OF PRIORITY
                                                                 C   Husband, Wife, Joint, or Community                       C    U   D
             CREDITOR'S NAME,                                    O                                                            O    N   I
           AND MAILING ADDRESS                                   D
                                                                     H
                                                                                                                              N    L   S                        AMOUNT
                                                                 E              DATE CLAIM WAS INCURRED                       T    I   P      AMOUNT          ENTITLED TO
            INCLUDING ZIP CODE,                                  B   W
                                                                              AND CONSIDERATION FOR CLAIM                     I    Q   U
                                                                                                                                              OF CLAIM
           AND ACCOUNT NUMBER                                    T   J                                                        N    U   T                        PRIORITY
                                                                 O                                                            G    I   E
              (See instructions.)                                R   C                                                        E    D   D
                                                                                                                              N    A
                                                                                                                              T    T
Account No.                                                                                                                        E
                                                                                                                                   D

Karolee A. Avard
13 Bye Street
Penacook, NH 03303
                                                                     H

                                                                                                                                                    825.00                825.00
Account No.




Account No.




Account No.




Account No.




       1
Sheet _____    1
            of _____  continuation sheets attached to                                                                      Subtotal
                                                                                                                                                    825.00                825.00
Schedule of Creditors Holding Unsecured Priority Claims                                                           (Total of this page)
                                                                                                                              Total                 825.00                825.00
                                                                                                    (Report on Summary of Schedules)

 Copyright (c) 1996-2005 - Best Case Solutions, Inc. - Evanston, IL - (800) 492-8037                                                                          Best Case Bankruptcy
                 Case: 06-10899-MWV Doc #: 1 Filed: 07/31/06 Desc: Main Document                                                           Page 20 of 45
 Form B6F
 (10/05)


            }
            s
            b
            e
            k
            c
            1
            u
            {
            r
            S
            d
            h
            N
            o
            n
            l
            p
            i
            F
            .
            C
            t
            y
            a
            m
            H
            g
            U




   In re          Kevin A Avard,                                                                                            Case No.
                  Naomi K Avard
                                                                                                                        ,
                                                                                                      Debtors

                  SCHEDULE F. CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
      State the name, mailing address, including zip code, and last four digits of any account number, of all entities holding unsecured claims without
 priority against the debtor or the property of the debtor, as of the date of filing of the petition. The complete account number of any account the debtor
 has with the creditor is useful to the trustee and the creditor and may be provided if the debtor chooses to do so. If a minor child is a creditor, indicate
 that by stating "a minor child" and do not disclose the child's name. See 11 U.S.C.§112; Fed.R.Bankr.P. 1007(m). Do not include claims listed in
 Schedules D and E. If all creditors will not fit on this page, use the continuation sheet provided.
      If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor", include the entity
 on the appropriate schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether husband, wife, both of them, or
 the marital community maybe liable on each claim by placing an "H", "W", "J", or "C" in the column labeled "Husband, Wife, Joint, or Community".
      If the claim is contingent, place an "X" in the column labeled "Contingent". If the claim is unliquidated, place an "X" in the column labeled
 "Unliquidated". If the claim is disputed, place an "X" in the column labeled "Disputed". (You may need to place an "X" in more than one of these three
 columns.)
      Report the total of all claims listed on this schedule in the box labeled "Total" on the last sheet of the completed schedule. Report this total also on
 the Summary of Schedules.
      Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.
                                                                               C   Husband, Wife, Joint, or Community                      C   U   D
                    CREDITOR'S NAME,                                           O                                                           O   N   I
                 AND MAILING ADDRESS                                           D   H                                                       N   L   S
                  INCLUDING ZIP CODE,                                          E               DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                                   W
                 AND ACCOUNT NUMBER
                                                                               B             CONSIDERATION FOR CLAIM. IF CLAIM             I   Q   U
                                                                                                                                                       AMOUNT OF CLAIM
                                                                               T   J                                                       N   U   T
                                                                               O               IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                   (See instructions above.)                                   R
                                                                                   C
                                                                                                                                           E   D   D
                                                                                                                                           N   A
Account No.                                                                                                                                T   T
                                                                                                                                               E
                                                                                                                                               D

American Eagle Outfitters
PO Box 530993                                                                      J
Atlanta, GA 30353-0993

                                                                                                                                                                         464.87
Account No.

Citi Cards
PO Bxo 183065                                                                      J
Columbus, OH 43218-3065

                                                                                                                                                                       7,055.62
Account No.

Citi Cards
PO Box 183052                                                                      J
Columbus, OH 43218-3065

                                                                                                                                                                     15,142.64
Account No. xxxx-xxxx-xxxx-4825

Discover Card
PO Box 15251                                                                       J
Wilmington, DE 19886

                                                                                                                                                                       7,122.45

                                                                                                                                         Subtotal
 4
_____ continuation sheets attached                                                                                                                                   29,785.58
                                                                                                                               (Total of this page)




 Copyright (c) 1996-2005 - Best Case Solutions, Inc. - Evanston, IL - (800) 492-8037                                                     S/N:28910-060614   Best Case Bankruptcy
                    Case: 06-10899-MWV Doc #: 1 Filed: 07/31/06 Desc: Main Document                                                        Page 21 of 45
 Form B6F - Cont.
 (10/05)




   In re            Kevin A Avard,                                                                                          Case No.
                    Naomi K Avard
                                                                                                                        ,
                                                                                                      Debtors
                    SCHEDULE F. CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                          (Continuation Sheet)




                                                                               C   Husband, Wife, Joint, or Community                      C   U   D
                      CREDITOR'S NAME,                                         O                                                           O   N   I
                    AND MAILING ADDRESS                                        D   H                                                       N   L   S
                     INCLUDING ZIP CODE,
                                                                               E
                                                                                   W
                                                                                               DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                               B                                                           I   Q   U
                    AND ACCOUNT NUMBER                                         T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                               O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                       (See instructions.)                                     R                                                           E   D   D
                                                                                                                                           N   A
                                                                                                                                           T   T
Account No. xxxx-xxxx-xxxx-6693                                                                                                                E
                                                                                                                                               D

Discover Card
PO Box 15251                                                                       J
Wilmington, DE 19886

                                                                                                                                                                  12,355.90
Account No.

ExxonMobil
PO Box 530962                                                                      J
Atlanta, GA 30353-0962

                                                                                                                                                                    1,444.23
Account No.                                                                            Lakes Regional General Hospital

Gragill Associates
PO Box 1010                                                                        J
Pembroke, MA 02359

                                                                                                                                                                      347.20
Account No.

Home Depot Credit Services
Processing Center                                                                  J
Des Moines, IA 50364

                                                                                                                                                                    1,768.08
Account No.

Home Depot Credit Services
Processing Center                                                                  J
Des Moines, IA 50364

                                                                                                                                                                      584.16

           1
Sheet no. _____     4
                of _____ sheets attached to Schedule of                                                                                  Subtotal
                                                                                                                                                                  16,499.57
Creditors Holding Unsecured Nonpriority Claims                                                                                 (Total of this page)




 Copyright (c) 1996-2005 - Best Case Solutions, Inc. - Evanston, IL - (800) 492-8037                                                                     Best Case Bankruptcy
                    Case: 06-10899-MWV Doc #: 1 Filed: 07/31/06 Desc: Main Document                                                        Page 22 of 45
 Form B6F - Cont.
 (10/05)




   In re            Kevin A Avard,                                                                                          Case No.
                    Naomi K Avard
                                                                                                                        ,
                                                                                                      Debtors
                    SCHEDULE F. CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                          (Continuation Sheet)




                                                                               C   Husband, Wife, Joint, or Community                      C   U   D
                      CREDITOR'S NAME,                                         O                                                           O   N   I
                    AND MAILING ADDRESS                                        D   H                                                       N   L   S
                     INCLUDING ZIP CODE,
                                                                               E
                                                                                   W
                                                                                               DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                               B                                                           I   Q   U
                    AND ACCOUNT NUMBER                                         T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                               O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                       (See instructions.)                                     R                                                           E   D   D
                                                                                                                                           N   A
                                                                                                                                           T   T
Account No.                                                                                                                                    E
                                                                                                                                               D

Macy's
PO Box 4563                                                                        J
Carol Stream, IL 60197

                                                                                                                                                                      529.70
Account No.

Macy's
PO Box 4563                                                                        J
Carol Stream, IL 60197

                                                                                                                                                                      255.27
Account No.

Sears Roebuck & Company
PO Box 20363                                                                       J
Kansas City, MO 64195-0363

                                                                                                                                                                  16,334.55
Account No.

Sears Roebuck & Company
PO Box 20363                                                                       J
Kansas City, MO 64195-0363

                                                                                                                                                                    1,144.33
Account No.

Shell
Processing Center                                                                  J
Des Moines, IA 50359

                                                                                                                                                                      476.63

           2
Sheet no. _____     4
                of _____ sheets attached to Schedule of                                                                                  Subtotal
                                                                                                                                                                  18,740.48
Creditors Holding Unsecured Nonpriority Claims                                                                                 (Total of this page)




 Copyright (c) 1996-2005 - Best Case Solutions, Inc. - Evanston, IL - (800) 492-8037                                                                     Best Case Bankruptcy
                    Case: 06-10899-MWV Doc #: 1 Filed: 07/31/06 Desc: Main Document                                                        Page 23 of 45
 Form B6F - Cont.
 (10/05)




   In re            Kevin A Avard,                                                                                          Case No.
                    Naomi K Avard
                                                                                                                        ,
                                                                                                      Debtors
                    SCHEDULE F. CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                          (Continuation Sheet)




                                                                               C   Husband, Wife, Joint, or Community                      C   U   D
                      CREDITOR'S NAME,                                         O                                                           O   N   I
                    AND MAILING ADDRESS                                        D   H                                                       N   L   S
                     INCLUDING ZIP CODE,
                                                                               E
                                                                                   W
                                                                                               DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                               B                                                           I   Q   U
                    AND ACCOUNT NUMBER                                         T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                               O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                       (See instructions.)                                     R                                                           E   D   D
                                                                                                                                           N   A
                                                                                                                                           T   T
Account No.                                                                            repo Nissan Xterra                                      E
                                                                                                                                               D

Sovereign Bank
PO Box 4020                                                                        J
Rocky Hill, CT 06067

                                                                                                                                                                  10,611.02
Account No.                                                                            maintance fees on timeshare

Steele Hill East
516 Steele Hill Road                                                               J
Sanbornton, NH 03269

                                                                                                                                                                    1,040.41
Account No.

Sunoco
Processing Center                                                                  J
PO Box 689153
Des Moines, IA 50368-9153
                                                                                                                                                                      532.30
Account No.

Verizon
PO Box 1                                                                           J
Worcester, MA 01654

                                                                                                                                                                      141.08
Account No.

Verizon
PO Box 1                                                                           J
Worcester, MA 01654

                                                                                                                                                                      772.83

           3
Sheet no. _____     4
                of _____ sheets attached to Schedule of                                                                                  Subtotal
                                                                                                                                                                  13,097.64
Creditors Holding Unsecured Nonpriority Claims                                                                                 (Total of this page)




 Copyright (c) 1996-2005 - Best Case Solutions, Inc. - Evanston, IL - (800) 492-8037                                                                     Best Case Bankruptcy
                    Case: 06-10899-MWV Doc #: 1 Filed: 07/31/06 Desc: Main Document                                                               Page 24 of 45
 Form B6F - Cont.
 (10/05)




   In re            Kevin A Avard,                                                                                                Case No.
                    Naomi K Avard
                                                                                                                         ,
                                                                                                      Debtors
                    SCHEDULE F. CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                          (Continuation Sheet)




                                                                               C   Husband, Wife, Joint, or Community                             C   U   D
                      CREDITOR'S NAME,                                         O                                                                  O   N   I
                    AND MAILING ADDRESS                                        D   H                                                              N   L   S
                     INCLUDING ZIP CODE,
                                                                               E
                                                                                   W
                                                                                               DATE CLAIM WAS INCURRED AND                        T   I   P
                                                                               B                                                                  I   Q   U
                    AND ACCOUNT NUMBER                                         T   J         CONSIDERATION FOR CLAIM. IF CLAIM                    N   U   T   AMOUNT OF CLAIM
                                                                               O   C           IS SUBJECT TO SETOFF, SO STATE.                    G   I   E
                       (See instructions.)                                     R                                                                  E   D   D
                                                                                                                                                  N   A
                                                                                                                                                  T   T
Account No.                                                                                                                                           E
                                                                                                                                                      D

Wal-mart
PO Box 530927                                                                      J
Atlanta, GA 30353-0927

                                                                                                                                                                           3,651.44
Account No.




Account No.




Account No.




Account No.




           4
Sheet no. _____     4
                of _____ sheets attached to Schedule of                                                                                         Subtotal
                                                                                                                                                                           3,651.44
Creditors Holding Unsecured Nonpriority Claims                                                                                        (Total of this page)
                                                                                                                                                  Total
                                                                                                                        (Report on Summary of Schedules)                 81,774.71


 Copyright (c) 1996-2005 - Best Case Solutions, Inc. - Evanston, IL - (800) 492-8037                                                                            Best Case Bankruptcy
                   Case: 06-10899-MWV Doc #: 1 Filed: 07/31/06 Desc: Main Document                                               Page 25 of 45
Form B6G
(10/05)


           }
           a
           b
           n
           k
           d
           1
           {
           U
           S
           c
           e
           h
           x
           p
           i
           u
           r
           l
           G
           L
           .
           E
           s
           t
           o
           y
           C




  In re             Kevin A Avard,                                                                               Case No.
                    Naomi K Avard
                                                                                                      ,
                                                                                      Debtors
                         SCHEDULE G. EXECUTORY CONTRACTS AND UNEXPIRED LEASES
               Describe all executory contracts of any nature and all unexpired leases of real or personal property. Include any timeshare interests. State nature
               of debtor's interest in contract, i.e., "Purchaser", "Agent", etc. State whether debtor is the lessor or lessee of a lease. Provide the names and
               complete mailing addresses of all other parties to each lease or contract described. If a minor child is a party to one of the leases or contracts,
               indicate that by stating "a minor child" and do not disclose the child's name. See 11 U.S.C. § 112; Fed.R. Bankr. P. 1007(m).
                  Check this box if debtor has no executory contracts or unexpired leases.
                                                                                       Description of Contract or Lease and Nature of Debtor's Interest.
                   Name and Mailing Address, Including Zip Code,                            State whether lease is for nonresidential real property.
                       of Other Parties to Lease or Contract                                  State contract number of any government contract.




       0         continuation sheets attached to Schedule of Executory Contracts and Unexpired Leases

Copyright (c) 1996-2005 - Best Case Solutions, Inc. - Evanston, IL - (800) 492-8037                                                             Best Case Bankruptcy
                Case: 06-10899-MWV Doc #: 1 Filed: 07/31/06 Desc: Main Document                                           Page 26 of 45
Form B6H
(10/05)


           }
           b
           k
           1
           {
           S
           c
           h
           e
           d
           u
           l
           H
           .
           C
           o
           t
           r
           s




  In re          Kevin A Avard,                                                                          Case No.
                 Naomi K Avard
                                                                                                 ,
                                                                                      Debtors
                                                                        SCHEDULE H. CODEBTORS
         Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also liable on any debts listed
     by debtor in the schedules of creditors. Include all guarantors and co-signers. If the debtor resides or resided in a community property state,
     commonwealth, or territory (including Alaska, Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or
     Wisconsin) within the eight year period immediately preceding the commencement of the case, identify the name of the debtor's spouse and of
     any former spouse who resides or resided with the debtor in the community property state, commonwealth, or territory. Include all names used
     by the nondebtor spouse during the eight years immediately preceding the commencement of this case. If a minor child is a codebtor or a creditor,
     indicate that by stating "a minor child" and do not disclose the child's name. See 11 U.S.C. § 112; Fed. Bankr. P. 1007(m).
         Check this box if debtor has no codebtors.
                   NAME AND ADDRESS OF CODEBTOR                                          NAME AND ADDRESS OF CREDITOR




       0       continuation sheets attached to Schedule of Codebtors

Copyright (c) 1996-2005 - Best Case Solutions, Inc. - Evanston, IL - (800) 492-8037                                                     Best Case Bankruptcy
           Case: 06-10899-MWV Doc #: 1 Filed: 07/31/06 Desc: Main Document                                            Page 27 of 45
Form B6I
(10/05)


           Kevin A Avard
 In re     Naomi K Avard                                                                               Case No.
                                                                         Debtor(s)

                         SCHEDULE I. CURRENT INCOME OF INDIVIDUAL DEBTOR(S)
The column labeled "Spouse" must be completed in all cases filed by joint debtors and by a married debtor in a chapter 7, 11, 12, or 13 case whether
or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed. Do not state the name of any minor child.
 Debtor's Marital Status:                                                      DEPENDENTS OF DEBTOR AND SPOUSE
                                        RELATIONSHIP:                                               AGE:
       Married                               None.

 Employment:                                             DEBTOR                                                   SPOUSE
 Occupation                         cleaner
 Name of Employer                   Aardvark
 How long employed                  18yrs                                                   unemployed since 8/05
 Address of Employer

 INCOME: (Estimate of average monthly income)                                                                 DEBTOR                   SPOUSE
 1. Current monthly gross wages, salary, and commissions (Prorate if not paid monthly.)                 $             0.00       $             0.00
 2. Estimate monthly overtime                                                                           $             0.00       $             0.00

 3. SUBTOTAL                                                                                            $             0.00       $             0.00

 4. LESS PAYROLL DEDUCTIONS
     a. Payroll taxes and social security                                                               $             0.00       $             0.00
     b. Insurance                                                                                       $             0.00       $             0.00
     c. Union dues                                                                                      $             0.00       $             0.00
     d. Other (Specify):                                                                                $             0.00       $             0.00
                                                                                                        $             0.00       $             0.00

 5. SUBTOTAL OF PAYROLL DEDUCTIONS                                                                      $             0.00       $             0.00

 6. TOTAL NET MONTHLY TAKE HOME PAY                                                                     $             0.00       $             0.00

 7. Regular income from operation of business or profession or farm. (Attach detailed statement)        $         3,545.10       $             0.00
 8. Income from real property                                                                           $             0.00       $             0.00
 9. Interest and dividends                                                                              $             0.00       $             0.00
 10. Alimony, maintenance or support payments payable to the debtor for the debtor's use or
      that of dependents listed above.                                                                  $             0.00       $             0.00
 11. Social security or other government assistance
 (Specify):                                                                                             $             0.00       $             0.00
                                                                                                        $             0.00       $             0.00
 12. Pension or retirement income                                                                       $             0.00       $             0.00
 13. Other monthly income
 (Specify):                                                                                             $             0.00       $             0.00
                                                                                                        $             0.00       $             0.00

 14. SUBTOTAL OF LINES 7 THROUGH 13                                                                     $         3,545.10       $             0.00

 15. TOTAL MONTHLY INCOME (Add amounts shown on lines 6 and 14)                                         $         3,545.10       $             0.00

 16. TOTAL COMBINED MONTHLY INCOME:                           $                      3,545.10           (Report also on Summary of Schedules)
 17. Describe any increase or decrease in income reasonably anticipated to occur within the year following the filing of this document:
           Case: 06-10899-MWV Doc #: 1 Filed: 07/31/06 Desc: Main Document                                Page 28 of 45
Form B6J
(10/05)


           Kevin A Avard
 In re     Naomi K Avard                                                                      Case No.
                                                                  Debtor(s)


           SCHEDULE J. CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR(S)
   Complete this schedule by estimating the average monthly expenses of the debtor and the debtor's family. Pro rate any payments
made bi-weekly, quarterly, semi-annually, or annually to show monthly rate.

o Check this box if a joint petition is filed and debtor's spouse maintains a separate household. Complete a separate schedule of
expenditures labeled "Spouse."
1. Rent or home mortgage payment (include lot rented for mobile home)                                      $                1,623.00
 a. Are real estate taxes included?                            Yes X              No
 b. Is property insurance included?                            Yes X              No
2. Utilities:      a. Electricity and heating fuel                                                         $                  375.00
                   b. Water and sewer                                                                      $                   40.00
                   c. Telephone                                                                            $                  200.00
                   d. Other                                                                                $                    0.00
3. Home maintenance (repairs and upkeep)                                                                   $                   30.00
4. Food                                                                                                    $                  450.00
5. Clothing                                                                                                $                   50.00
6. Laundry and dry cleaning                                                                                $                   50.00
7. Medical and dental expenses                                                                             $                  250.00
8. Transportation (not including car payments)                                                             $                  150.00
9. Recreation, clubs and entertainment, newspapers, magazines, etc.                                        $                   40.00
10. Charitable contributions                                                                               $                  100.00
11. Insurance (not deducted from wages or included in home mortgage payments)
                   a. Homeowner's or renter's                                                              $                    0.00
                   b. Life                                                                                 $                   42.00
                   c. Health                                                                               $                    0.00
                   d. Auto                                                                                 $                  257.00
                   e. Other                                                                                $                    0.00
12. Taxes (not deducted from wages or included in home mortgage payments)
                 (Specify)                                                                                 $                    0.00
13. Installment payments: (In chapter 11, 12 and 13 cases, do not list payments to be included in the
plan.)
                   a. Auto                                                                                 $                  760.00
                   b. Other                                                                                $                    0.00
                   c. Other                                                                                $                    0.00
                   d. Other                                                                                $                    0.00
14. Alimony, maintenance, and support paid to others                                                       $                    0.00
15. Payments for support of additional dependents not living at your home                                  $                  159.00
16. Regular expenses from operation of business, profession, or farm (attach detailed statement)           $                    0.00
17. Other MOP                                                                                              $                   10.00
    Other Court ordered Alcohol Counseling                                                                 $                  220.00

18. TOTAL MONTHLY EXPENSES (Report also on Summary of Schedules)                                           $                4,806.00
19. Describe any increase or decrease in expenditures reasonably anticipated to occur within the year
following the filing of this document:

20. STATEMENT OF MONTHLY NET INCOME
a. Total monthly income from Line 16 of Schedule I                                                         $                3,545.10
b. Total monthly expenses from Line 18 above                                                               $                4,806.00
c. Monthly net income (a. minus b.)                                                                        $               -1,260.90
             Case: 06-10899-MWV Doc #: 1 Filed: 07/31/06 Desc: Main Document                                                    Page 29 of 45



Official Form 6-Decl.
(10/05)

                                                                  United States Bankruptcy Court
                                                                            District of New Hampshire
             Kevin A Avard
 In re       Naomi K Avard                                                                                       Case No.
                                                                                             Debtor(s)           Chapter    7




                                         DECLARATION CONCERNING DEBTOR'S SCHEDULES

                                  DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR




                     I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of
                19  sheets [total shown on summary page plus 2], and that they are true and correct to the best of my
             knowledge, information, and belief.




 Date July 31, 2006                                                             Signature    /s/ Kevin A Avard
                                                                                             Kevin A Avard
                                                                                             Debtor


 Date July 31, 2006                                                             Signature    /s/ Naomi K Avard
                                                                                             Naomi K Avard
                                                                                             Joint Debtor

     Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                      18 U.S.C. §§ 152 and 3571.




Software Copyright (c) 1996-2003 Best Case Solutions, Inc. - Evanston, IL - (800) 492-8037                                              Best Case Bankruptcy
             Case: 06-10899-MWV Doc #: 1 Filed: 07/31/06 Desc: Main Document                                                         Page 30 of 45

                                                                  United States Bankruptcy Court
                                                                            District of New Hampshire
             Kevin A Avard
 In re       Naomi K Avard                                                                                            Case No.
                                                                                             Debtor(s)                Chapter    7


                            DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U.S.C. § 329(a) and Bankruptcy Rule 2016(b), I certify that I am the attorney for the above-named debtor and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
              For legal services, I have agreed to accept                                                         $                  1,299.00
              Prior to the filing of this statement I have received                                               $                  1,299.00
              Balance Due                                                                                         $                      0.00

2.     $     299.00        of the filing fee has been paid.

3.     The source of the compensation paid to me was:

              n    Debtor            o Other (specify):

4.     The source of compensation to be paid to me is:

              n    Debtor            o Other (specify):

5.       n   I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

         o I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
             copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

6.     In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:
       a. Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b. Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d. [Other provisions as needed]
                 Negotiations with secured creditors to reduce to market value; exemption planning; preparation and filing of
                 reaffirmation agreements and applications as needed; preparation and filing of motions pursuant to 11 USC
                 522(f)(2)(A) for avoidance of liens on household goods.

7.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:
               Representation of the debtors in any dischargeability actions, judicial lien avoidances, relief from stay actions or
               any other adversary proceeding.
                                                                                     CERTIFICATION

       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

 Dated:       July 31, 2006                                                                  /s/ Timothy P. Smith, Esq.
                                                                                             Timothy P. Smith, Esq. BNH01446
                                                                                             Timothy P. Smith, Esq.
                                                                                             67 Middle Street
                                                                                             Manchester, NH 03101
                                                                                             603-623-0036 Fax: 603-623-1366
                                                                                             tpscli@aol.com




Software Copyright (c) 1996-2004 Best Case Solutions, Inc. - Evanston, IL - (800) 492-8037                                                      Best Case Bankruptcy
             Case: 06-10899-MWV Doc #: 1 Filed: 07/31/06 Desc: Main Document                                                                 Page 31 of 45


Form 8
(10/05)

                                                                  United States Bankruptcy Court
                                                                            District of New Hampshire
             Kevin A Avard
 In re       Naomi K Avard                                                                                                 Case No.
                                                                                             Debtor(s)                     Chapter       7


                             CHAPTER 7 INDIVIDUAL DEBTOR'S STATEMENT OF INTENTION
n         I have filed a schedule of assets and liabilities which includes debts secured by property of the estate.
o         I have filed a schedule of executory contracts and unexpired leases which includes personal property subject to an unexpired lease.
n         I intend to do the following with respect to property of the estate which secures those debts or is subject to a lease:

                                                                                                                                      Property will be   Debt will be
                                                                                                                     Property         redeemed           reaffirmed
                                                                                                    Property will be is claimed       pursuant to        pursuant to
 Description of Secured Property                                   Creditor's Name                  Surrendered      as exempt        11 U.S.C. § 722    11 U.S.C. § 524(c)
 100 Beech Street, Franklin, NH                                    NovaStar                                                                                      X
 100 Beech Street, Franklin, NH                                    NovaStar                                                                                      X



                                                                                                    Lease will be
                                                                                                    assumed pursuant
 Description of Leased                                                                              to 11 U.S.C. §
 Property                                                          Lessor's Name                    362(h)(1)(A)
 -NONE-


 Date July 31, 2006                                                             Signature    /s/ Kevin A Avard
                                                                                             Kevin A Avard
                                                                                             Debtor


 Date July 31, 2006                                                             Signature    /s/ Naomi K Avard
                                                                                             Naomi K Avard
                                                                                             Joint Debtor




Software Copyright (c) 1996-2005 Best Case Solutions, Inc. - Evanston, IL - (800) 492-8037                                                                Best Case Bankruptcy
             Case: 06-10899-MWV Doc #: 1 Filed: 07/31/06 Desc: Main Document                                    Page 32 of 45
B 201 (04/09/06)

                                                          UNITED STATES BANKRUPTCY COURT
                                                            DISTRICT OF NEW HAMPSHIRE

                                NOTICE TO INDIVIDUAL CONSUMER DEBTOR UNDER § 342(b)
                                              OF THE BANKRUPTCY CODE
                      In accordance with § 342(b) of the Bankruptcy Code, this notice: (1) Describes briefly the services available from
             credit counseling services; (2) Describes briefly the purposes, benefits and costs of the four types of bankruptcy proceedings
             you may commence; and (3) Informs you about bankruptcy crimes and notifies you that the Attorney General may examine all
             information you supply in connection with a bankruptcy case. You are cautioned that bankruptcy law is complicated and not
             easily described. Thus, you may wish to seek the advice of an attorney to learn of your rights and responsibilities should you
             decide to file a petition. Court employees cannot give you legal advice.

1. Services Available from Credit Counseling Agencies
          With limited exceptions, § 109(h) of the Bankruptcy Code requires that all individual debtors who file for bankruptcy
relief on or after October 17, 2005, receive a briefing that outlines the available opportunities for credit counseling and
provides assistance in performing a budget analysis. The briefing must be given within 180 days before the bankruptcy filing. The
briefing may be provided individually or in a group (including briefings conducted by telephone or on the Internet) and must be
provided by a nonprofit budget and credit counseling agency approved by the United States trustee or bankruptcy administrator. The
clerk of the bankruptcy court has a list that you may consult of the approved budget and credit counseling agencies.

          In addition, after filing a bankruptcy case, an individual debtor generally must complete a financial management
instructional course before he or she can receive a discharge. The clerk also has a list of approved financial management
instructional courses.

2. The Four Chapters of the Bankruptcy Code Available to Individual Consumer Debtors

             Chapter 7: Liquidation ($245 filing fee, $39 administrative fee, $15 trustee surcharge: Total Fee $299)
          1. Chapter 7 is designed for debtors in financial difficulty who do not have the ability to pay their existing debts. Debtors
whose debts are primarily consumer debts are subject to a "means test" designed to determine whether the case should be permitted to
proceed under chapter 7. If your income is greater than the median income for your state of residence and family size, in some cases,
creditors have the right to file a motion requesting that the court dismiss your case under § 707(b) of the Code. It is up to the court to
decide whether the case should be dismissed.
          2. Under chapter 7, you may claim certain of your property as exempt under governing law. A trustee may have the right to
take possession of and sell the remaining property that is not exempt and use the sale proceeds to pay your creditors.
          3. The purpose of filing a chapter 7 case is to obtain a discharge of your existing debts. If, however, you are found to have
committed certain kinds of improper conduct described in the Bankruptcy Code, the court may deny your discharge and, if it does, the
purpose for which you filed the bankruptcy petition will be defeated.
          4. Even if you receive a general discharge, some particular debts are not discharged under the law. Therefore, you may still
be responsible for most taxes and student loans; debts incurred to pay nondischargeable taxes; domestic support and property
settlement obligations; most fines, penalties, forfeitures, and criminal restitution obligations; certain debts which are not properly listed
in your bankruptcy papers; and debts for death or personal injury caused by operating a motor vehicle, vessel, or aircraft while
intoxicated from alcohol or drugs. Also, if a creditor can prove that a debt arose from fraud, breach of fiduciary duty, or theft, or from
a willful and malicious injury, the bankruptcy court may determine that the debt is not discharged.

             Chapter 13: Repayment of All or Part of the Debts of an Individual with Regular Income ($235 filing fee,
             $39 administrative fee: Total fee $274)
          1. Chapter 13 is designed for individuals with regular income who would like to pay all or part of their debts in installments
over a period of time. You are only eligible for chapter 13 if your debts do not exceed certain dollar amounts set forth in the
Bankruptcy Code.
          2. Under chapter 13, you must file with the court a plan to repay your creditors all or part of the money that you owe them,
using your future earnings. The period allowed by the court to repay your debts may be three years or five years, depending upon your
income and other factors. The court must approve your plan before it can take effect.
          3. After completing the payments under your plan, your debts are generally discharged except for domestic support
obligations; most student loans; certain taxes; most criminal fines and restitution obligations; certain debts which are not properly
listed in your bankruptcy papers; certain debts for acts that caused death or personal injury; and certain long term secured obligations.



Software Copyright (c) 1996-2006 Best Case Solutions, Inc. - Evanston, IL - (800) 492-8037                                Best Case Bankruptcy
             Case: 06-10899-MWV Doc #: 1 Filed: 07/31/06 Desc: Main Document                                                        Page 33 of 45
B 201 (04/09/06)


             Chapter 11: Reorganization ($1000 filing fee, $39 administrative fee: Total fee $1039)
        Chapter 11 is designed for the reorganization of a business but is also available to consumer debtors. Its provisions are quite
complicated, and any decision by an individual to file a chapter 11 petition should be reviewed with an attorney.


             Chapter 12: Family Farmer or Fisherman ($200 filing fee, $39 administrative fee: Total fee $239)
         Chapter 12 is designed to permit family farmers and fishermen to repay their debts over a period of time from future earnings
and is similar to chapter 13. The eligibility requirements are restrictive, limiting its use to those whose income arises primarily from a
family-owned farm or commercial fishing operation.

3. Bankruptcy Crimes and Availability of Bankruptcy Papers to Law Enforcement Officials
          A person who knowingly and fraudulently conceals assets or makes a false oath or statement under penalty of perjury, either
orally or in writing, in connection with a bankruptcy case is subject to a fine, imprisonment, or both. All information supplied by a
debtor in connection with a bankruptcy case is subject to examination by the Attorney General acting through the Office of the United
States Trustee, the Office of the United States Attorney, and other components and employees of the Department of Justice.

WARNING: Section 521(a)(1) of the Bankruptcy Code requires that you promptly file detailed information regarding your creditors,
assets, liabilities, income, expenses and general financial condition. Your bankruptcy case may be dismissed if this information is not
filed with the court within the time deadlines set by the Bankruptcy Code, the Bankruptcy Rules, and the local rules of the court.

                                                                               Certificate of Attorney
             I hereby certify that I delivered to the debtor this notice required by § 342(b) of the Bankruptcy Code.

 Timothy P. Smith, Esq. BNH01446                                                             X /s/ Timothy P. Smith, Esq.               July 31, 2006
Printed Name of Attorney                                                                       Signature of Attorney                    Date
Address:
67 Middle Street
Manchester, NH 03101
603-623-0036

                                                                                Certificate of Debtor
             I (We), the debtor(s), affirm that I (we) have received and read this notice.

 Kevin A Avard
 Naomi K Avard                                                                               X /s/ Kevin A Avard                        July 31, 2006
 Printed Name of Debtor                                                                        Signature of Debtor                      Date

 Case No. (if known)                                                                         X /s/ Naomi K Avard                        July 31, 2006
                                                                                               Signature of Joint Debtor (if any)       Date




Software Copyright (c) 1996-2006 Best Case Solutions, Inc. - Evanston, IL - (800) 492-8037                                                 Best Case Bankruptcy
                 Case: 06-10899-MWV Doc #: 1 Filed: 07/31/06 Desc: Main Document                                                     Page 34 of 45
Form 6-Summary
(10/05)


          }
          b
          k
          1
          {
          F
          o
          r
          m
          6
          .
          S
          u
          a
          y
          f
          c
          h
          e
          d
          l
          s




                                                                   United States Bankruptcy Court
                                                                             District of New Hampshire
  In re          Kevin A Avard,                                                                                       Case No.
                 Naomi K Avard
                                                                                                             ,
                                                                                             Debtors                  Chapter                  7




                                                                        SUMMARY OF SCHEDULES
     Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from Schedules A,
     B, D, E, F, I, and J in the boxes provided. Add the amounts from Schedules A and B to determine the total amount of the debtor’s assets.
     Add the amounts of all claims from Schedules D, E, and F to determine the total amount of the debtor’s liabilities. Individual debtors must
     also complete the "Statistical Summary of Certain Liabilities."

                                                                                                                   AMOUNTS SCHEDULED

        NAME OF SCHEDULE                                   ATTACHED NO. OF                       ASSETS                LIABILITIES            OTHER
                                                            (YES/NO) SHEETS

A - Real Property                                                  Yes                1                189,000.00


B - Personal Property                                              Yes                3                 32,868.76


C - Property Claimed as Exempt                                     Yes                1


D - Creditors Holding Secured                                      Yes                1                                         177,677.05
      Claims
E - Creditors Holding Unsecured                                    Yes                2                                            825.00
      Priority Claims
F - Creditors Holding Unsecured                                    Yes                5                                          81,774.71
      Nonpriority Claims
G - Executory Contracts and                                        Yes                1
      Unexpired Leases

H - Codebtors                                                      Yes                1


I - Current Income of Individual                                   Yes                1                                                                 3,545.10
      Debtor(s)
J - Current Expenditures of                                        Yes                1                                                                 4,806.00
      Individual Debtor(s)

   Total Number of Sheets of ALL Schedules                                            17


                                                                              Total Assets             221,868.76


                                                                                               Total Liabilities                260,276.76




Copyright (c) 1996-2005 - Best Case Solutions, Inc. - Evanston, IL - (800) 492-8037                                                           Best Case Bankruptcy
                Case: 06-10899-MWV Doc #: 1 Filed: 07/31/06 Desc: Main Document                                                          Page 35 of 45
Form 6-Summ2
(10/05)




                                                                   United States Bankruptcy Court
                                                                             District of New Hampshire
  In re          Kevin A Avard,                                                                                               Case No.
                 Naomi K Avard
                                                                                                                 ,
                                                                                              Debtors                         Chapter              7




                         STATISTICAL SUMMARY OF CERTAIN LIABILITIES (28 U.S.C. § 159)
                                          [Individual Debtors Only]
          Summarize the following types of liabilities, as reported in the Schedules, and total them.



            Type of Liability                                                                           Amount

            Domestic Support Obligations (from Schedule E)                                                           825.00

            Taxes and Certain Other Debts Owed to Governmental Units
            (from Schedule E)                                                                                          0.00

            Claims for Death or Personal Injury While Debtor Was Intoxicated
            (from Schedule E)                                                                                          0.00

            Student Loan Obligations (from Schedule F)                                                                 0.00

            Domestic Support, Separation Agreement, and Divorce Decree
            Obligations Not Reported on Schedule E                                                                     0.00

            Obligations to Pension or Profit-Sharing, and Other Similar Obligations
            (from Schedule F)                                                                                          0.00

                                                                                      TOTAL                          825.00



          The foregoing information is for statistical purposes only under 28 U.S.C § 159.




Copyright (c) 1996-2005 - Best Case Solutions, Inc. - Evanston, IL - (800) 492-8037                                                               Best Case Bankruptcy
             Case: 06-10899-MWV Doc #: 1 Filed: 07/31/06 Desc: Main Document                                            Page 36 of 45




                                                                  United States Bankruptcy Court
                                                                            District of New Hampshire
             Kevin A Avard
 In re       Naomi K Avard                                                                               Case No.
                                                                                             Debtor(s)   Chapter    7




                                                 VERIFICATION OF CREDITOR MATRIX


The above-named Debtors hereby verify that the attached list of creditors is true and correct to the best of their knowledge.



 Date:      July 31, 2006                                                       /s/ Kevin A Avard
                                                                                Kevin A Avard
                                                                                Signature of Debtor

 Date:      July 31, 2006                                                       /s/ Naomi K Avard
                                                                                Naomi K Avard
                                                                                Signature of Debtor




Software Copyright (c) 1996-2001 Best Case Solutions, Inc. - Evanston, IL - (800) 492-8037                                      Best Case Bankruptcy
    Case: 06-10899-MWV Doc #: 1 Filed: 07/31/06 Desc: Main Document   Page 37 of 45



}
b
k
1
{
C
r
e
d
i
t
o
A
s
M
a
x




                        Allied Interstate
                        3000 Corporate Exchange Drive
                        Suite 600
                        Columbus, OH 43231

                        American Eagle Outfitters
                        PO Box 530993
                        Atlanta, GA 30353-0993

                        Citi Cards
                        PO Bxo 183065
                        Columbus, OH 43218-3065

                        Citi Cards
                        PO Box 183052
                        Columbus, OH 43218-3065
                        Citi Cards
                        PO Box 6921
                        The Lakes, NV 88901

                        Citi Cards
                        PO Box 660370
                        Dallas, TX 75266-0370

                        Citicards
                        PO Box 9151
                        Des Moines, IA 50368

                        DE Money Bank
                        PO Box 530927
                        Atlanta, GA 30353

                        Discover Card
                        PO Box 15251
                        Wilmington, DE 19886

                        Discover Card
                        PO Box 3008
                        New Albany, OH 43054

                        ExxonMobil
                        PO Box 530962
                        Atlanta, GA 30353-0962

                        GE Money Bank
                        PO Bxo 530962
                        Atlanta, GA 30353

                        Gragill Associates
                        PO Box 1010
                        Pembroke, MA 02359
Case: 06-10899-MWV Doc #: 1 Filed: 07/31/06 Desc: Main Document   Page 38 of 45




                    Home Depot Credit Services
                    Processing Center
                    Des Moines, IA 50364

                    I.C. System, Inc.
                    444 Highway 96 East
                    PO Box 64794
                    Saint Paul, MN 55164

                    Karolee A. Avard
                    13 Bye Street
                    Penacook, NH 03303

                    Lakes Regional General Hospital
                    80 Highland Avenue
                    Laconia, NH 03246
                    LRG Healthcare
                    Attn. Mendical Billing Office
                    PO Box 1327
                    Laconia, NH 03246

                    Macy's
                    PO Box 4563
                    Carol Stream, IL 60197

                    NovaStar
                    PO Box 808911
                    Kansas City, MO 64184

                    Robert V. McKenney, Esq.
                    109 Ponemah Road
                    #3
                    Amherst, NH 03031

                    Sears Roebuck & Company
                    PO Box 20363
                    Kansas City, MO 64195-0363

                    Sears Roebuck & Company
                    PO Box 2182156
                    Columbus, OH 43218-2156

                    Shell
                    Processing Center
                    Des Moines, IA 50359

                    Sovereign Bank
                    PO Box 4020
                    Rocky Hill, CT 06067

                    Steele Hill East
                    516 Steele Hill Road
                    Sanbornton, NH 03269
Case: 06-10899-MWV Doc #: 1 Filed: 07/31/06 Desc: Main Document   Page 39 of 45




                    Sunoco
                    Processing Center
                    PO Box 689153
                    Des Moines, IA 50368-9153

                    Verizon
                    PO Box 1
                    Worcester, MA 01654

                    Wal-mart
                    PO Box 530927
                    Atlanta, GA 30353-0927
             Case: 06-10899-MWV Doc #: 1 Filed: 07/31/06 Desc: Main Document                                                            Page 40 of 45
Form B22A (Chapter 7) (10/05)

            Kevin A Avard
 In re      Naomi K Avard
                                   Debtor(s)
                                                                                                  According to the calculations required by this statement:
 Case Number:                                                                                        o The presumption arises.
                                   (If known)
                                                                                                     n The presumption does not arise.
                                                                                             (Check the box as directed in Parts I, III, and VI of this statement.)


   STATEMENT OF CURRENT MONTHLY INCOME AND MEANS TEST CALCULATION
                                                                       FOR USE IN CHAPTER 7 ONLY
In addition to Schedules I and J, this statement must be completed by every individual Chapter 7 debtor, whether or not filing jointly, whose debts are
primarily consumer debts. Joint debtors may complete one statement only.


                                               Part I. EXCLUSION FOR DISABLED VETERANS
              If you are a disabled veteran described in the Veteran's Declaration in this Part I, (1) check that box at the beginning of the Veteran's
              Declaration, (2) check the box for "The presumption does not arise" at the top of this statement, and (3) complete the verification in Part
              VIII. Do not complete any of the remaining parts of this statement.
     1
              o Veteran's Declaration. By checking this box, I declare under penalty of perjury that I am a disabled veteran (as defined in 38 U.S.C. §
              3741(1)) whose indebtedness occurred primarily during a period in which I was on active duty (as defined in 10 U.S.C. § 101(d)(1)) or while
              I was performing a homeland defense activity (as defined in 32 U.S.C. §901(1)).


              Part II. CALCULATION OF MONTHLY INCOME FOR § 707(b)(7) EXCLUSION
              Marital/filing status. Check the box that applies and complete the balance of this part of this statement as directed.
              a.    o Unmarried. Complete only Column A ("Debtor's Income") for Lines 3-11.
              b.    o Married, not filing jointly, with declaration of separate households. By checking this box, debtor declares under penalty of perjury: "My
                     spouse and I are legally separated under applicable non-bankruptcy law or my spouse and I are living apart other than for the purpose
     2               of evading the requirements of § 707(b)(2)(A) of the Bankruptcy Code." Complete only column A ("Debtor's Income") for Lines
                     3-11.
              c.    o Married, not filing jointly, without the declaration of separate households set out in Line 2.b above. Complete both Column A
                     ("Debtor's Income") and Column B ("Spouse's Income") for Lines 3-11.
              d.    n Married, filing jointly. Complete both Column A ("Debtor's Income") and Column B ("Spouse's Income") for Lines 3-11.
              All figures must reflect average monthly income for the six calendar months prior to filing the
                                                                                                                Column A         Column B
              bankruptcy case, ending on the last day of the month before the filing. If you received different
              amounts of income during these six months, you must total the amounts received during the six     Debtor's         Spouse's
              months, divide this total by six, and enter the result on the appropriate line.                    Income           Income

     3        Gross wages, salary, tips, bonuses, overtime, commissions.                                                         $           0.00   $               0.00
              Income from the operation of a business, profession or farm. Subtract Line b from Line a and enter
              the difference on Line 4. Do not enter a number less than zero. Do not include any part of the
              business expenses entered on Line b as a deduction in Part V.
     4                                                                    Debtor                  Spouse
               a.     Gross receipts                               $          6,470.79 $                    0.00
               b.       Ordinary and necessary business expenses                   $           2,925.69    $              0.00
               c.       Business income                                            Subtract Line b from Line a                   $      3,545.10    $               0.00
              Rents and other real property income. Subtract Line b from Line a and enter the difference on Line
              5. Do not enter a number less than zero. Do not include any part of the operating expenses
              entered on Line b as a deduction in Part V.
     5                                                                   Debtor                   Spouse
               a.    Gross receipts                               $                0.00 $                   0.00
               b.       Ordinary and necessary operating expenses                  $                0.00   $              0.00
               c.       Rental income                                              Subtract Line b from Line a                   $           0.00   $               0.00
     6        Interest, dividends, and royalties.                                                                                $           0.00   $               0.00
     7        Pension and retirement income.                                                                                     $           0.00   $               0.00
              Regular contributions to the household expenses of the debtor or the debtor's dependents, including
     8        child or spousal support. Do not include contributions from the debtor's spouse if Column B is
              completed.                                                                                                         $           0.00   $               0.00




Software Copyright (c) 1996-2005 Best Case Solutions, Inc. - Evanston, IL - (800) 492-8037                                                          Best Case Bankruptcy
             Case: 06-10899-MWV Doc #: 1 Filed: 07/31/06 Desc: Main Document                                                                   Page 41 of 45
Form B22A (Chapter 7) (10/05)



              Unemployment compensation. Enter the amount in column A and, if applicable, Column B.
              However, if you contend that unemployment compensation received by you or your spouse was a
              benefit under the Social Security Act, do not list the amount of such compensation in Column A or B,
     9        but instead state the amount in the space below:
               Unemployment compensation claimed to
               be a benefit under the Social Security Act                Debtor $               0.00   Spouse $               0.00   $             0.00    $                0.00
              Income from all other sources. If necessary, list additional sources on a separate page. Do not
              include any benefits received under the Social Security Act or payments received as a victim of a
              war crime, crime against humanity, or as a victim of international or domestic terrorism. Specify
              source and amount.
    10                                                                      Debtor                  Spouse
               a. Short Term Disability                             $                0.00 $                415.38
               b.                                                                  $                       $
              Total and enter on Line 10                                                                                             $             0.00    $            415.38
    11
              Subtotal of Current Monthly Income for § 707(b)(7). Add Lines 3 thru 10 in Column
              A, and, if Column B is completed, add Lines 3 through 10 in Column B. Enter the total(s).                              $         3,545.10    $            415.38
              Total Current Monthly Income for § 707(b)(7). If Column B has been completed, add
    12        Line 11, Column A to Line 11, Column B, and enter the total. If Column B has not been completed,
              enter the amount from Line 11, Column A.                                                                               $                               3,960.48


                                        Part III. APPLICATION OF § 707(b)(7) EXCLUSION
    13
              Annualized Current Monthly Income for § 707(b)(7). Multiply the amount from Line 12 by the number
              12 and enter the result.                                                                                                                 $            47,525.76
              Applicable median family income. Enter the median family income for the applicable state and household
    14        size. (This information is available by family size at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.)

               a. Enter debtor's state of residence:                        NH               b. Enter debtor's household size:             2           $            59,743.00
              Application of Section 707(b)(7). Check the applicable box and proceed as directed.

    15
              n The amount on Line 13 is less than or equal to the amount on Line 14.                           Check the box for "The presumption does not
                    arise" at the top of page 1 of this statement, and complete Part VIII; do not complete Parts IV, V, VI or VII.
              o The amount on Line 13 is more than the amount on Line 14.                                         Complete the remaining parts of this statement.

                      Complete Parts IV, V, VI, and VII of this statement only if required. (See Line 15.)

                Part IV. CALCULATION OF CURRENT MONTHLY INCOME FOR § 707(b)(2)
    16        Enter the amount from Line 12.                                                                                                           $
              Marital adjustment. If you checked the box at Line 2.c, enter the amount of the income listed in Line 11, Column
    17        B that was NOT regularly contributed to the household expenses of the debtor or the debtor's dependents. If you did
              not check box at Line 2.c, enter zero.                                                                                                   $
    18        Current monthly income for § 707(b)(2). Subtract Line 17 from Line 16 and enter the result.                                              $


                               Part V. CALCULATION OF DEDUCTIONS UNDER § 707(b)(2)
                          Subpart A: Deductions under Standards of the Internal Revenue Service (IRS)
              National Standards: food, clothing, household supplies, personal care, and miscellaneous.
    19        Enter "Total" amount from IRS National Standards for Allowable Living Expenses for the applicable family size and
              income level. (This information is available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.)                           $
              Local Standards: housing and utilities; non-mortgage expenses. Enter the amount of the IRS
    20A       Housing and Utilities Standards; non-mortgage expenses for the applicable county and family size. (This information
              is available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court).                                                           $




Software Copyright (c) 1996-2005 Best Case Solutions, Inc. - Evanston, IL - (800) 492-8037                                                                     Best Case Bankruptcy
             Case: 06-10899-MWV Doc #: 1 Filed: 07/31/06 Desc: Main Document                                                    Page 42 of 45
Form B22A (Chapter 7) (10/05)



              Local Standards: housing and utilities; mortgage/rent expense. Enter, in Line a below, the amount
              of the IRS Housing and Utilities Standards; mortgage/rent expense for your county and family size (this information is
              available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court); enter on Line b the total of the Average
              Monthly Payments for any debts secured by your home, as stated in Line 42; subtract Line b from Line a and enter the
    20B       result in Line 20B. Do not enter an amount less than zero.
               a.      IRS Housing and Utilities Standards; mortgage/rental expense              $
               b.      Average Monthly Payment for any debts secured by your home,
                       if any, as stated in Line 42                                              $
               c.      Net mortgage/rental expense                                               Subtract Line b from Line a.          $
              Local Standards: housing and utilities; adjustment. If you contend that the process set out in Lines
              20A and 20B does not accurately compute the allowance to which you are entitled under the IRS Housing and Utilities
    21        Standards, enter any additional amount to which you contend you are entitled, and state the basis for your contention
              in the space below:
                                                                                                                                       $
              Local Standards: transportation; vehicle operation/public transportation expense.
              You are entitled to an expense allowance in this category regardless of whether you pay the expenses of operating a
              vehicle and regardless of whether you use public transportation.
              Check the number of vehicles for which you pay the operating expenses or for which the operating expenses are
              included as a contribution to your household expenses in Line 8.
    22
              o 0 o 1 o 2 or more.
              Enter the amount from IRS Transportation Standards, Operating Costs & Public Transportation Costs for the applicable
              number of vehicles in the applicable Metropolitan Statistical Area or Census Region. (This information is available at
              www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.)                                                           $
              Local Standards: transportation ownership/lease expense; Vehicle 1. Check the number of
              vehicles for which you claim an ownership/lease expense. (You may not claim an ownership/lease expense for more
              than two vehicles.)
              o 1 o 2 or more.
              Enter, in Line a below, the amount of the IRS Transportation Standards, Ownership Costs, First Car (available at
    23        www.usdoj.gov/ust/ or from the clerk of the bankruptcy court); enter in Line b the total of the Average Monthly
              Payments for any debts secured by Vehicle 1, as stated in Line 42; subtract Line b from Line a and enter the result in
              Line 23. Do not enter an amount less than zero.
               a.      IRS Transportation Standards, Ownership Costs, First Car              $
                       Average Monthly Payment for any debts secured by Vehicle 1,
               b.      as stated in Line 42                                                  $
               c.      Net ownership/lease expense for Vehicle 1                             Subtract Line b from Line a.              $
              Local Standards: transportation ownership/lease expense; Vehicle 2. Complete this Line only if
              you checked the "2 or more" Box in Line 23.
              Enter, in Line a below, the amount of the IRS Transportation Standards, Ownership Costs, Second Car (available at
              www.usdoj.gov/ust/ or from the clerk of the bankruptcy court); enter in Line b the total of the Average Monthly
              Payments for any debts secured by Vehicle 2, as stated in Line 42; subtract Line b from Line a and enter the result in
    24
              Line 24. Do not enter an amount less than zero.
               a.      IRS Transportation Standards, Ownership Costs, Second Car             $
                       Average Monthly Payment for any debts secured by Vehicle 2,
               b.      as stated in Line 42                                                  $
               c.      Net ownership/lease expense for Vehicle 2                             Subtract Line b from Line a.              $
              Other Necessary Expenses: taxes. Enter the total average monthly expense that you actually incur for all
    25        federal, state and local taxes, other than real estate and sales taxes, such as income taxes, self employment taxes,
              social security taxes, and Medicare taxes. Do not include real estate or sales taxes.                                    $
              Other Necessary Expenses: mandatory payroll deductions. Enter the total average monthly payroll
    26        deductions that are required for your employment, such as mandatory retirement contributions, union dues, and
              uniform costs. Do not include discretionary amounts, such as non-mandatory 401(k) contributions.                         $
              Other Necessary Expenses: life insurance. Enter average monthly premiums that you actually pay for
    27        term life insurance for yourself. Do not include premiums for insurance on your dependents, for whole life or
              for any other form of insurance.                                                                                         $




Software Copyright (c) 1996-2005 Best Case Solutions, Inc. - Evanston, IL - (800) 492-8037                                                 Best Case Bankruptcy
             Case: 06-10899-MWV Doc #: 1 Filed: 07/31/06 Desc: Main Document                                                       Page 43 of 45
Form B22A (Chapter 7) (10/05)



              Other Necessary Expenses: court-ordered payments. Enter the total monthly amount that you are
    28        required to pay pursuant to court order, such as spousal or child support payments. Do not include payments on
              past due support obligations included in Line 44.                                                                           $
              Other Necessary Expenses: education for employment or for a physically or mentally
    29        challenged child. Enter the total monthly amount that you actually expend for education that is a condition of
              employment and for education that is required for a physically or mentally challenged dependent child for whom no
              public education providing similar services is available.                                                                   $

    30
              Other Necessary Expenses: childcare. Enter the average monthly amount that you actually expend on
              childcare. Do not include payments made for children's education.                                                           $
              Other Necessary Expenses: health care. Enter the average monthly amount that you actually expend on
    31        health care expenses that are not reimbursed by insurance or paid by a health savings account. Do not include
              payments for health insurance listed in Line 34.                                                                            $
              Other Necessary Expenses: telecommunication services. Enter the average monthly expenses that
              you actually pay for cell phones, pagers, call waiting, caller identification, special long distance or internet services
    32
              necessary for the health and welfare of you or your dependents. Do not include any amount previously
              deducted.                                                                                                                   $
    33        Total Expenses Allowed under IRS Standards. Enter the total of Lines 19 through 32.                                         $

                                             Subpart B: Additional Expense Deductions under § 707(b)
                                  Note: Do not include any expenses that you have listed in Lines 19-32
              Health Insurance, Disability Insurance and Health Savings Account Expenses. List the average
              monthly amounts that you actually expend in each of the following categories and enter the total.

               a.         Health Insurance                                                   $
    34
               b.         Disability Insurance                                               $
               c.         Health Savings Account                                             $
                                                                                         Total: Add Lines a, b and c                      $
              Continued contributions to the care of household or family members. Enter the actual monthly
    35        expenses that you will continue to pay for the reasonable and necessary care and support of an elderly, chronically ill,
              or disabled member of your household or member of your immediate family who is unable to pay for such expenses.             $
              Protection against family violence. Enter any average monthly expenses that you actually incurred to
    36        maintain the safety of your family under the Family Violence Prevention and Services Act or other applicable federal
              law.                                                                                                                        $
              Home energy costs in excess of the allowance specified by the IRS Local Standards. Enter
              the average monthly amount by which your home energy costs exceed the allowance in the IRS Local Standards for
    37
              Housing and Utilities. You must provide your case trustee with documentation demonstrating that the
              additional amount claimed is reasonable and necessary.                                                                      $
              Education expenses for dependent children less than 18. Enter the average monthly expenses that
              you actually incur, not to exceed $125 per child, in providing elementary and secondary education for your dependent
    38        children less than 18 years of age. You must provide your case trustee with documentation demonstrating
              that the additional amount claimed is reasonable and necessary and not already accounted for in the IRS
              Standards.                                                                                                                  $
              Additional food and clothing expense. Enter the average monthly amount by which your food and clothing
              expenses exceed the combined allowances for food and apparel in the IRS National Standards, not to exceed five
    39        percent of those combined allowances. (This information is available at www.usdoj.gov/ust/ or from the clerk of the
              bankruptcy court.) You must provide your case trustee with documentation demonstrating that the
              additional amount claimed is reasonable and necessary.                                                                      $

    40
              Continued charitable contributions. Enter the amount that you will continue to contribute in the form of
              cash or financial instruments to a charitable organization as defined in 26 U.S.C. § 170(c)(1)-(2).                         $
    41        Total Additional Expense Deductions under § 707(b). Enter the total of Lines 34 through 40                                  $




Software Copyright (c) 1996-2005 Best Case Solutions, Inc. - Evanston, IL - (800) 492-8037                                                    Best Case Bankruptcy
             Case: 06-10899-MWV Doc #: 1 Filed: 07/31/06 Desc: Main Document                                                               Page 44 of 45
Form B22A (Chapter 7) (10/05)



                                                             Subpart C: Deductions for Debt Payment
              Future payments on secured claims. For each of your debts that is secured by an interest in property that
              you own, list the name of the creditor, identify the property securing the debt, and state the Average Monthly
    42        Payment. The Average Monthly Payment is the total of all amounts contractually due to each Secured Creditor in the
              60 months following the filing of the bankruptcy case, divided by 60. Mortgage debts should include payments of
              taxes and insurance required by the mortgage. If necessary, list additional entries on a separate page.
                      Name of Creditor                             Property Securing the Debt                      60-month Average Payment
                 a.                                                                                            $
                                                                                                                               Total: Add Lines   $

              Past due payments on secured claims. If any of the debts listed in Line 42 are in default, and the property
              securing the debt is necessary for your support or the support of your dependents, you may include in your
    43        deductions 1/60th of the amount that you must pay the creditor as a result of the default (the "cure amount") in order
              to maintain possession of the property. List any such amounts in the following chart and enter the total. If necessary,
              list additional entries on a separate page.
                      Name of Creditor                             Property Securing the Debt in Default            1/60th of the Cure Amount
                 a.                                                                                            $
                                                                                                                               Total: Add Lines   $

    44
              Payments on priority claims. Enter the total amount of all priority claims (including priority child support and
              alimony claims), divided by 60.                                                                                                     $
              Chapter 13 administrative expenses. If you are eligible to file a case under Chapter 13, complete the
              following chart, multiply the amount in line a by the amount in line b, and enter the resulting administrative expense.

               a.        Projected average monthly Chapter 13 plan payment.                                $
    45         b.        Current multiplier for your district as determined under schedules
                         issued by the Executive Office for United States Trustees. (This
                         information is available at www.usdoj.gov/ust/ or from the clerk of
                         the bankruptcy court.)                                                            x
               c.        Average monthly administrative expense of Chapter 13 case                         Total: Multiply Lines a and b          $
    46        Total Deductions for Debt Payment. Enter the total of Lines 42 through 45.                                                          $

                                               Subpart D: Total Deductions Allowed under § 707(b)(2)
    47        Total of all deductions allowed under § 707(b)(2). Enter the total of Lines 33, 41, and 46.                                         $



                                              Part VI. DETERMINATION OF § 707(b)(2) PRESUMPTION
    48        Enter the amount from Line 18 (Current monthly income for § 707(b)(2))                                                              $
    49        Enter the amount from Line 47 (Total of all deductions allowed under § 707(b)(2))                                                   $
    50        Monthly disposable income under § 707(b)(2). Subtract Line 49 from Line 48 and enter the result.                                    $

    51
              60-month disposable income under § 707(b)(2). Multiply the amount in Line 50 by the number 60 and
              enter the result.                                                                                                                   $




Software Copyright (c) 1996-2005 Best Case Solutions, Inc. - Evanston, IL - (800) 492-8037                                                            Best Case Bankruptcy
             Case: 06-10899-MWV Doc #: 1 Filed: 07/31/06 Desc: Main Document                                                                Page 45 of 45
Form B22A (Chapter 7) (10/05)



              Initial presumption determination. Check the applicable box and proceed as directed.

              o The amount on Line 51 is less than $6,000. Check the box for "The presumption does not arise" at the top of page 1 of this
              statement, and complete the verification in Part VIII. Do not complete the remainder of Part VI.
    52
              o The amount set forth on Line 51 is more than $10,000. Check the box for "The presumption arises" at the top of page 1 of
              this statement, and complete the verification in Part VIII. You may also complete Part VII. Do not complete the remainder of Part VI.

              o The amount on Line 51 is at least $6,000, but not more than $10,000. Complete the remainder of Part VI (Lines 53
              through 55).

    53        Enter the amount of your total non-priority unsecured debt                                                                             $
    54        Threshold debt payment amount. Multiply the amount in Line 53 by the number 0.25 and enter the result.                                 $
              Secondary presumption determination. Check the applicable box and proceed as directed.

              o The amount on Line 51 is less than the amount on Line 54. Check the box for "The presumption does not arise" at the
              top of page 1 of this statement, and complete the verification in Part VIII.
    55
              o The amount on Line 51 is equal to or greater than the amount on Line 54. Check the box for "The presumption
              arises" at the top of page 1 of this statement, and complete the verification in Part VIII. You may also complete Part VII.




                                                             Part VII. ADDITIONAL EXPENSE CLAIMS
              Other Expenses. List and describe any monthly expenses, not otherwise stated in this form, that are required for the health and welfare
              of you and your family and that you contend should be an additional deduction from your current monthly income under § 707(b)(2)(A)(ii)(I).
              If necessary, list additional sources on a separate page. All figures should reflect your average monthly expense for each item. Total the
              expenses.

    56                 Expense Description                                                                                          Monthly Amount
               a.                                                                                                  $
               b.                                                                                                  $
               c.                                                                                                  $
               d.                                                                                                  $
                                                                            Total: Add Lines a, b, c, and d        $


                                                                           Part VIII. VERIFICATION
              I declare under penalty of perjury that the information provided in this statement is true and correct. (If this is a joint case, both debtors
              must sign.)
                             Date:    July 31, 2006                                        Signature: /s/ Kevin A Avard
                                                                                                                       Kevin A Avard
    57                                                                                                                          (Debtor)

                                 Date:       July 31, 2006                                             Signature       /s/ Naomi K Avard
                                                                                                                        Naomi K Avard
                                                                                                                                (Joint Debtor, if any)




Software Copyright (c) 1996-2005 Best Case Solutions, Inc. - Evanston, IL - (800) 492-8037                                                               Best Case Bankruptcy
